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                                    ID #:2711



  1   HARVINDER S. ANAND (SBN 243913)
      ANAND LAW GROUP, P.C.
  2   301 N. Lake Avenue, Suite 600
      Pasadena, California 91101
  3   Phone: (626) 239-7250
  4
      Fax: (626) 239-7150
      Email: harv@anandlawgroup.com
  5
      Attorneys for Defendant
  6   LORENZO ROBERT SAVAGE III
  7
  8                      UNITED STATES DISTRICT COURT
  9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11    CHRISTOPHER PSAILA,                      Case No. 2:23-cv-07120-MWF (SKx)
 12                                             Honorable Michael W. Fitzgerald
 13               Plaintiff,
                                                DECLARATION OF HARVINDER
 14          v.                                 S. ANAND IN SUPPORT OF
                                                MOTION FOR SANCTIONS
 15                                             UNDER FEDERAL RULE OF CIVIL
       ERIKA GIRARDI aka ERIKA                  PROCEDURE 11
 16    JAYNE, AMERICAN EXPRESS
       COMPANY, ROBERT SAVAGE,                  First Amended Complaint served:
 17    KENNETH HENDERSON, STEVE                 6/10/2024
 18    SCARINCE, PETER GRIMM, LAIA
       RIBATALLADA, MICHAEL                     Hearing:
 19    MINDEN, UNITED STATES OF                 Date: November 4, 2024
       AMERICA, and DOES 1 TO 10,               Time: 10:00 a.m.
 20    Inclusive,                               Courtroom: 5A
 21
 22
                  Defendants.

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                     DECLARATION OF HARVINDER S. ANAND IN SUPPORT OF
              MOTION FOR SANCTIONS UNDER FEDERAL RULE OF CIVIL PROCEDURE 11
Case 2:23-cv-07120-MWF-SK      Document 126-3         Filed 09/22/24   Page 2 of 74 Page
                                    ID #:2712



  1                     DECLARATION OF HARVINDER S. ANAND
  2         I, Harvinder S. Anand, declare as follows:
  3         1.      I make this declaration based on my personal knowledge, except as to
  4   information stated upon information and belief, which I believe to be true.
  5   If called to testify as a witness, I could and would testify competently to the facts
  6   stated herein.
  7         2.      I met and conferred with Dave McLane, lead counsel for Plaintiff,
  8   between June 26 and August 27, 2024, in an attempt to avoid filing a motion to
  9   dismiss Plaintiff’s First Amended Complaint (“FAC”), and to avoid filing the Rule
 10   11 motion. I spoke to Mr. McLane on June 26, 2024, and I communicated with
 11   him via email between July 1 and August 27, 2024. Attached hereto as Exhibits 1
 12   and 2 are true and correct printouts of our email communications.
 13         3.      I told Mr. McLane on June 26, 2024, that I believed the FAC did not
 14   provide any basis for relief. He disagreed.
 15         4.      I sent Mr. McLane an email on July 1, 2024, asking Plaintiff to
 16   dismiss the complaint. (Exh. 1.)
 17         5.      Mr. McLane replied by email on July 3, 2024, that his client’s
 18   position had not changed. (Exh. 1.)
 19         6.      After filing Mr. Savage’s motion to dismiss, I sent Mr. McLane and
 20   Marily Bednarski an email on July 11, 2024, asking Plaintiff to reconsider his
 21   position. I stated that Mr. Savage intends to pursue a Rule 11 motion if the FAC is
 22   not dismissed, but I sincerely did not want to have to file it. (Exh. 1.)
 23         7.      Mr. McLane responded by email on July 11, 2024, stating Plaintiff’s
 24   case is meritorious. (Exh. 1.)
 25         8.      I replied to Mr. McLane twice on July 11, 2024. In my first email I
 26   said that Mr. Savage respectfully disagrees that the FAC is meritorious. (Exh. 1.)
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                                                -2-

                        DECLARATION OF HARVINDER S. ANAND IN SUPPORT OF
                 MOTION FOR SANCTIONS UNDER FEDERAL RULE OF CIVIL PROCEDURE 11
Case 2:23-cv-07120-MWF-SK      Document 126-3         Filed 09/22/24   Page 3 of 74 Page
                                    ID #:2713



  1         9.      In my second email, I offered to provide copies of Mr. Savage’s
  2   “LEOSA” (Law Enforcement Officers Safety Act Improvements Act) card
  3   and his Retired Secret Service badge. I stated that the LEOSA card is issued to
  4   agents who retire in good standing, not to agents who are forced to resign. I also
  5   stated: “The LEOSA card is an official government ID. Please agree that if you
  6   get the copies, you will in good faith reevaluate the allegations in paragraph 43.”
  7   I asked Mr. McLane to withdraw the allegations in paragraph 43 of the FAC.
  8   (Exh. 1.) I did not receive a response.
  9         10.     I sent Mr. McLane and Ms. Bednarski an email on August 27, 2024,
 10   again providing reasons why Mr. Savage believes the FAC should be dismissed,
 11   and in an effort to avoid filing a Rule 11 motion. I did not receive a response.
 12         11.     I will cause the Rule 11 motion and supporting filings served on
 13   Plaintiff on August 30, 2024, by delivering the documents to his attorney’s office.
 14         12.     Attached hereto as Exhibit 3 is a true and correct copy of the
 15   transcript of the April 8, 2024, hearing before this Court, which was filed with
 16   Plaintiff’s opposition to Mr. Savage’s motion to dismiss the FAC.
 17         13.     Attached hereto as Exhibit 4 is a true and correct copy of the
 18   transcript of the December 13, 2016, hearing in the Volkswagen case, which was
 19   filed with Plaintiff’s opposition to Mr. Savage’s motion to dismiss the FAC.
 20         14.     My billing rate for this matter is reduced to $300 per DOJ guidelines.
 21   My customary billing rate is substantially higher. I have been practicing law for
 22   approximately twenty-five years.
 23         15.     Mr. Savage seeks sanctions in the amount of $32,340 for legal fees
 24   associated with filing the motion to dismiss ($16,650 for 55.5 hours, including 50.5
 25   hours expended thus far) and the Rule 11 motion ($15,690 for 52.3 hours,
 26   including 27.3 hours expended thus far). The foregoing total hours include
 27   (a) estimated time to prepare for the hearing and the hearing on the motion to
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                        DECLARATION OF HARVINDER S. ANAND IN SUPPORT OF
                 MOTION FOR SANCTIONS UNDER FEDERAL RULE OF CIVIL PROCEDURE 11
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  1   dismiss; and (b) estimated time to prepare the reply in support of the Rule 11
  2   motion and to prepare for the hearing and the hearing on the Rule 11 motion.
  3   I have not included costs for the Rule 11 motion, which are unknown.
  4         I declare under penalty of perjury under the laws of the United States of
  5   America that the foregoing is true and correct. Executed on August 30, 2024, at
  6   La Canada, California.
  7
  8                                              _______________________________
                                                 Harvinder S. Anand
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                     DECLARATION OF HARVINDER S. ANAND IN SUPPORT OF
              MOTION FOR SANCTIONS UNDER FEDERAL RULE OF CIVIL PROCEDURE 11
Case 2:23-cv-07120-MWF-SK   Document 126-3   Filed 09/22/24   Page 5 of 74 Page
                                 ID #:2715




                   EXHIBIT 1
        Case 2:23-cv-07120-MWF-SK                 Document 126-3            Filed 09/22/24        Page 6 of 74 Page
                                                       ID #:2716

Harvinder Anand

From:                                Harvinder Anand
Sent:                                Thursday, July 11, 2024 10:13 PM
To:                                  Dave McLane; Marilyn Bednarski; bealkelaw@protonmail.com; Stanmanlaw@aol.com;
                                     Marie Bolanos
Subject:                             RE: Psaila -- FAC



Dear Dave,

We appreciate your willingness to correct allegations in the FAC. I am writing to provide proof that Rob
voluntarily and honorably retired from the Secret Service. Please withdraw the allegations in paragraph
43 of the FAC.

I can provide copies of Rob’s “LEOSA” (Law Enforcement Officers Safety Act Improvements Act) card
and his Retired Secret Service badge. The LEOSA card permits Rob to carry a firearm as a retired
agent. The card and badge are only issued to agents who retire in good standing. They are not issued to
agents who are forced to resign. The allegation that Rob improperly charged the Secret Service hotel
expenses is simply untrue.

I will send you the above-described copies if you agree that you will not disseminate them to anyone and
will only use them in this matter to verify the above representations. The LEOSA card is an official
government ID. Please agree that if you get the copies, you will in good faith reevaluate the allegations in
paragraph 43.

Please let me know if you would like the copies.

Thanks.

Harv


Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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From: Harvinder Anand
Sent: Thursday, July 11, 2024 3:55 PM
To: Dave McLane <DMcLane@mbllegal.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Subject: RE: Psaila -- FAC
                                                                 1
       Case 2:23-cv-07120-MWF-SK                  Document 126-3            Filed 09/22/24        Page 7 of 74 Page
                                                       ID #:2717

Dave, I had not seen your declaration. We appreciate the acknowledgements regarding certain facts.

I think we have to respectfully agree to disagree on the FAC being meritorious.

Harv

Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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From: Dave McLane <DMcLane@mbllegal.com>
Sent: Thursday, July 11, 2024 2:50 PM
To: Harvinder Anand <harv@anandlawgroup.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Cc: Dave McLane <DMcLane@mbllegal.com>
Subject: RE: Psaila -- FAC

Dear Harvinder: I have not had a chance to review your MTD, but we met and conferred prior to you ﬁling it, and I
told you we would oppose your motion to dismiss. You are putting the cart before the horse. You do not have to do
what your client instructs you to do on seeking sanctions. You are the attorney and it is your decision on whether
to seek sanctions. Your warning has no impact on our position, and how we will litigate the case. I believe our FAC
is meritorious and made in good faith, and you will be unsuccessful in seeking sanctions.

In any event, it is premature before any ruling by the Court on your motion to dismiss. We will strenuously oppose
any motion for sanctions, and I am conﬁdent the Court will rule against you on such a motion. There is no need to
meet and confer, as we already have discussed your MTD and met and conferred over the phone, you have sent
me an email with the $7,500 check seeking that we dismiss the case, and I have responded to the information you
provided in my declaration in my opposition to Scarince/Henderson and will include that information in my
declaration in my opposition to your motion to dismiss since I thought it was important to address the information
you sent me.

We submit our case against Mr. Savage is meritorious.

Sincerely,

David S. McLane
McLane, Bednarski & Litt, LLP
975 East Green Street
Pasadena, California 91106
Tel: 626-844-7660
Fax: 626-844-7670
Email: dmclane@mbllegal.com


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                                                       ID #:2718




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From: Harvinder Anand <harv@anandlawgroup.com>
Sent: Thursday, July 11, 2024 2:05 PM
To: Dave McLane <DMcLane@mbllegal.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Subject: RE: Psaila -- FAC

Hi Dave, if you have had a chance to review our ﬁling, you have seen that Rob intends to have me pursue a Rule 11
motion. I sincerely do not want to have to ﬁle it.

Please let me know if you would like to meet and confer any further regarding the viability of the claims against my
client. The MTD sets forth my analysis of why I think the two claims against him are not reasonably grounded in
fact or law. If I am missing something, please let me know. I will consider and present any information you provide
to Rob and see if he changes his position. Otherwise, I am instructed to serve you with a Rule 11 motion.

Again, I really don’t want to do it, so I am reaching out to you in good faith to see if we can avoid it. If there’s
nothing for us to discuss, so be it. If there is, I’m willing to listen.

I would appreciate you letting me know by tomorrow if you would like to discuss.

Thanks.

Harv

Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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From: Dave McLane <DMcLane@mbllegal.com>
Sent: Wednesday, July 3, 2024 5:06 PM
To: Harvinder Anand <harv@anandlawgroup.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Cc: Dave McLane <DMcLane@mbllegal.com>
Subject: RE: Psaila -- FAC

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                                                  ID #:2719
Hi Harv, in response to your email, our position has not changed. We will not stipulate to dismiss our action
against Mr. Savage, and we will oppose your motion to dismiss. As you stated, we have fully met and conferred
over the phone, and we appreciate your outreach to discuss the issue.

Best Regards,

David S. McLane
McLane, Bednarski & Litt, LLP
975 East Green Street
Pasadena, California 91106
Tel: 626-844-7660
Fax: 626-844-7670
Email: dmclane@mbllegal.com




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 this message, please advise us by reply e-mail or call us at (626) 844-7660 and delete any file containing this e-mail.

From: Harvinder Anand <harv@anandlawgroup.com>
Sent: Monday, July 1, 2024 4:49 PM
To: Dave McLane <DMcLane@mbllegal.com>; Marilyn Bednarski <mbednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com
Subject: Psaila -- FAC

Dear Mr. McLane, Ms. Bednarski, Mr. Bealke, and Mr. Greenberg,

I hope you are doing well.

Further to my discussion with Mr. McLane last week, the First Amended Complaint (the “FAC”) should be
dismissed. We request that you voluntarily dismiss the FAC because further litigation should not be necessary to
resolve this matter. If you do not voluntarily dismiss, Mr. Savage will ﬁle a motion to dismiss.

The FAC continues to falsely accuse Mr. Savage of accepting a bribe from Mr. Girardi. As set forth in Mr. Savage’s
motion to dismiss the complaint and reply, there was no bribe. The FAC includes apparently two main changes to
the complaint’s factual allegations in an attempt to make out the meritless bribery claim: (1) the $7,500 payment
amount is changed to an unknown amount; and (2) Mr. Girardi is alleged to have made additional statements to
the court on December 13, 2016, in the Volkswagen case. Neither change, however, alters the analysis.

On June 26, 2024, I emailed you a copy of the check and deposit slip showing that the payment amount from Mr.
Girardi indeed was $7,500, a copy of which is attached. As you know, the $7,500 payment was the same amount
as the settlement reached in the Volkswagen case before Mr. Girardi’s involvement. Accordingly, Mr. Girardi’s
payment was for the Volkswagen settlement and not a bribe. Mr. Girardi’s additional December 13, 2016,
statements to the court only conﬁrm that fact. Please also see the motion to dismiss and reply.



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                                                  ID #:2720
The FAC’s claim that Mr. Girardi bribed Mr. Savage is simply untrue. Plainti cannot continue accusing Mr. Savage
of committing a serious federal crime with zero factual basis. The FAC should be dismissed for this reason alone.

The remaining allegations in the FAC are similarly devoid of factual support. Mr. Savage did not tell the agents to
take any action other than to investigate Ms. Girardi’s allegations. As the Court explained during the April 8, 2024,
hearing, “as to the special agent in charge, he just didn't do enough. And the idea that he authorized things . . . sort
of was the proximate cause of all of this was -- is just rank speculation, I thought that there was a lot of merit [to
Mr. Savage’s arguments].” (4/8/24 Tr., at 6:1-4.)

The FAC does not include any new factual allegation regarding Mr. Savage’s involvement in this matter, nor could
it. As Mr. Savage has stated many times, he played no role in the investigation or prosecution of Mr. Psaila after
asking Agents Henderson and Scarince to investigate. As I explained during the April 8, 2024, hearing, the
allegation that former SAIC Savage directly supervised Agent Scarince is untrue. Agent Scarince’s title was
Assistant to the Special Agent in Charge and he reported to David Murray, Assistant Special Agent in Charge
(“ASAIC”) for Investigations. ASAIC Murray reported to Deputy Special Agent in Charge Jesse Baker, who was
second in command of the Secret Service Los Angeles Field O ice.

Please note that the allegation in FAC paragraph 57 is incorrect. Please check with AMEX’s counsel to conﬁrm.

The allegations in FAC paragraph 43 are likewise completely false. Mr. Savage honorably and voluntarily retired
from the Secret Service to pursue a desirable position in a private organization.

The FAC is also devoid of any legal basis to sue Mr. Savage. There was no Fifth Amendment or Fourth Amendment
violation for the reasons set forth in the motion to dismiss and reply brief. The claims are not plausible because
Plainti has no factual basis to sue Mr. Savage. There is no Bivens claim. Even if this were a close case factually—
it is not— Mr. Savage is entitled to qualiﬁed immunity. As set forth in the motion and reply, the FAC is contrary to
numerous controlling legal authorities.

The Court stated in its dismissal order that it was “dubious that any amendment will not be futile.” (Order, at
13.) The FAC does not allege any fact to warrant Plainti continuing to pursue this matter against Mr. Savage.

The FAC adds a Bivens “supervisorial liability” claim. But the United States Supreme Court has expressly ruled
that “Bivens is not designed to hold o icers responsible for acts of their subordinates.” Ziglar v. Abbasi, 582 U.S.
120, 140–41 (2017). A “Bivens claim is brought against the individual o icial for his or her own acts, not the acts of
others.” Id. Please see Mr. Savage’s motion to dismiss and reply brief for additional legal authorities supporting
that settled legal principle.

Assuming arguendo Bivens vicarious liability could be imposed in some case, there is no factual support for such
a claim here because, as the Court made clear, “the idea that [Mr. Savage] authorized things . . . sort of was the
proximate cause of all of this was -- is just rank speculation.” (4/8/24 Tr., at 6:2-4.)

We strongly urge you to dismiss the FAC because we believe further litigation will prove that the FAC is both
factually and legally meritless, just like the complaint. Respectfully, the FAC is actually frivolous. We emphasize
that we do not want to engage in needless litigation.

Please let me know by July 5, 2024, whether you will dismiss the FAC. I believe that my telephone conference with
Mr. McLane last week constitutes compliance with Local Rule 7-3, but I’m available to further discuss the issues
set forth above or anything else you would like to discuss. Please let me know if you would like to set up a call. I’m
fairly ﬂexible over the next couple of days and Friday.

Harv


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                                                      ID #:2721

Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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                    EXHIBIT 2
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                                                      ID #:2723

Harvinder Anand

From:                                Harvinder Anand
Sent:                                Tuesday, August 27, 2024 12:48 PM
To:                                  'Dave McLane'; 'Marilyn Bednarski'; 'bealkelaw@protonmail.com';
                                     'Stanmanlaw@aol.com'
Subject:                             RE: Psaila -- FAC


Dear Mr. McLane, Ms. Bednarski, Mr. Bealke, and Mr. Greenberg,

I hope you are doing well. We ﬁled Rob’s reply brief in support of his motion to dismiss yesterday afternoon. We
renew our request for Plainti to voluntary dismiss the FAC.

The motion and reply establish that the bribery allegation is untrue. Mr. Girardi’s statements at the December 13,
2016, hearing make clear that he spontaneously and unilaterally decided to dismiss Mr. and Mrs. Savage’s case
and pay them for settlement in the Volkswagen case. Among other things, Mr. Girardi emphasized to the Court
that he was “doing this because the Court has indicated that [he had] done something inappropriate, and [he]
really didn’t.” (Transcript, at 13:24-14:1.) There is no plausible basis to claim the $7,500 payment was a bribe.

The Ninth Circuit has upheld a Rule 11 attorney’s fees award for a plainti ﬁling an amended complaint when it
“made very serious charges of mail fraud and racketeering without foundation.” MGIC Indem. Corp. v. Weisman,
803 F.2d 500, 505 (9th Cir. 1986). “A complaint ﬁled in federal court is not a vehicle for airing rumor, suspicion, or
mere hostility. Without connection made between its allegations against [a defendant] and its own injury, [the
plainti ] was engaging in scurrilous speculation.” Id.

All that remains in the FAC is a single factual allegation about what Rob did in Plainti ’s entire investigation and
prosecution. That action was permitted by law. And as set forth in the reply, the FAC still includes untrue
allegations. There is no plausible basis to impose any liability on Rob in this matter.

As stated in my July, 11, 2024, email, I really do not want to proceed with a Rule 11 motion. We respectfully
request that you reconsider your position and let me know by tomorrow whether you will agree to voluntarily
dismiss the FAC.

Please let me know if you would like to discuss anything.

Thanks.

Harv

Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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                                                                 1
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                                                  ID #:2724
From: Dave McLane <DMcLane@mbllegal.com>
Sent: Thursday, July 11, 2024 2:50 PM
To: Harvinder Anand <harv@anandlawgroup.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Cc: Dave McLane <DMcLane@mbllegal.com>
Subject: RE: Psaila -- FAC

Dear Harvinder: I have not had a chance to review your MTD, but we met and conferred prior to you ﬁling it, and I
told you we would oppose your motion to dismiss. You are putting the cart before the horse. You do not have to do
what your client instructs you to do on seeking sanctions. You are the attorney and it is your decision on whether
to seek sanctions. Your warning has no impact on our position, and how we will litigate the case. I believe our FAC
is meritorious and made in good faith, and you will be unsuccessful in seeking sanctions.

In any event, it is premature before any ruling by the Court on your motion to dismiss. We will strenuously oppose
any motion for sanctions, and I am conﬁdent the Court will rule against you on such a motion. There is no need to
meet and confer, as we already have discussed your MTD and met and conferred over the phone, you have sent
me an email with the $7,500 check seeking that we dismiss the case, and I have responded to the information you
provided in my declaration in my opposition to Scarince/Henderson and will include that information in my
declaration in my opposition to your motion to dismiss since I thought it was important to address the information
you sent me.

We submit our case against Mr. Savage is meritorious.

Sincerely,

David S. McLane
McLane, Bednarski & Litt, LLP
975 East Green Street
Pasadena, California 91106
Tel: 626-844-7660
Fax: 626-844-7670
Email: dmclane@mbllegal.com




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From: Harvinder Anand <harv@anandlawgroup.com>
Sent: Thursday, July 11, 2024 2:05 PM
To: Dave McLane <DMcLane@mbllegal.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Subject: RE: Psaila -- FAC

Hi Dave, if you have had a chance to review our ﬁling, you have seen that Rob intends to have me pursue a Rule 11
motion. I sincerely do not want to have to ﬁle it.
                                                           2
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                                                      ID #:2725

Please let me know if you would like to meet and confer any further regarding the viability of the claims against my
client. The MTD sets forth my analysis of why I think the two claims against him are not reasonably grounded in
fact or law. If I am missing something, please let me know. I will consider and present any information you provide
to Rob and see if he changes his position. Otherwise, I am instructed to serve you with a Rule 11 motion.

Again, I really don’t want to do it, so I am reaching out to you in good faith to see if we can avoid it. If there’s
nothing for us to discuss, so be it. If there is, I’m willing to listen.

I would appreciate you letting me know by tomorrow if you would like to discuss.

Thanks.

Harv

Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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From: Dave McLane <DMcLane@mbllegal.com>
Sent: Wednesday, July 3, 2024 5:06 PM
To: Harvinder Anand <harv@anandlawgroup.com>; Marilyn Bednarski <MBednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com; Marie Bolanos <MBolanos@mbllegal.com>
Cc: Dave McLane <DMcLane@mbllegal.com>
Subject: RE: Psaila -- FAC

Hi Harv, in response to your email, our position has not changed. We will not stipulate to dismiss our action
against Mr. Savage, and we will oppose your motion to dismiss. As you stated, we have fully met and conferred
over the phone, and we appreciate your outreach to discuss the issue.

Best Regards,

David S. McLane
McLane, Bednarski & Litt, LLP
975 East Green Street
Pasadena, California 91106
Tel: 626-844-7660
Fax: 626-844-7670
Email: dmclane@mbllegal.com




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From: Harvinder Anand <harv@anandlawgroup.com>
Sent: Monday, July 1, 2024 4:49 PM
To: Dave McLane <DMcLane@mbllegal.com>; Marilyn Bednarski <mbednarski@mbllegal.com>;
bealkelaw@protonmail.com; Stanmanlaw@aol.com
Subject: Psaila -- FAC

Dear Mr. McLane, Ms. Bednarski, Mr. Bealke, and Mr. Greenberg,

I hope you are doing well.

Further to my discussion with Mr. McLane last week, the First Amended Complaint (the “FAC”) should be
dismissed. We request that you voluntarily dismiss the FAC because further litigation should not be necessary to
resolve this matter. If you do not voluntarily dismiss, Mr. Savage will ﬁle a motion to dismiss.

The FAC continues to falsely accuse Mr. Savage of accepting a bribe from Mr. Girardi. As set forth in Mr. Savage’s
motion to dismiss the complaint and reply, there was no bribe. The FAC includes apparently two main changes to
the complaint’s factual allegations in an attempt to make out the meritless bribery claim: (1) the $7,500 payment
amount is changed to an unknown amount; and (2) Mr. Girardi is alleged to have made additional statements to
the court on December 13, 2016, in the Volkswagen case. Neither change, however, alters the analysis.

On June 26, 2024, I emailed you a copy of the check and deposit slip showing that the payment amount from Mr.
Girardi indeed was $7,500, a copy of which is attached. As you know, the $7,500 payment was the same amount
as the settlement reached in the Volkswagen case before Mr. Girardi’s involvement. Accordingly, Mr. Girardi’s
payment was for the Volkswagen settlement and not a bribe. Mr. Girardi’s additional December 13, 2016,
statements to the court only conﬁrm that fact. Please also see the motion to dismiss and reply.

The FAC’s claim that Mr. Girardi bribed Mr. Savage is simply untrue. Plainti cannot continue accusing Mr. Savage
of committing a serious federal crime with zero factual basis. The FAC should be dismissed for this reason alone.

The remaining allegations in the FAC are similarly devoid of factual support. Mr. Savage did not tell the agents to
take any action other than to investigate Ms. Girardi’s allegations. As the Court explained during the April 8, 2024,
hearing, “as to the special agent in charge, he just didn't do enough. And the idea that he authorized things . . . sort
of was the proximate cause of all of this was -- is just rank speculation, I thought that there was a lot of merit [to
Mr. Savage’s arguments].” (4/8/24 Tr., at 6:1-4.)

The FAC does not include any new factual allegation regarding Mr. Savage’s involvement in this matter, nor could
it. As Mr. Savage has stated many times, he played no role in the investigation or prosecution of Mr. Psaila after
asking Agents Henderson and Scarince to investigate. As I explained during the April 8, 2024, hearing, the
allegation that former SAIC Savage directly supervised Agent Scarince is untrue. Agent Scarince’s title was
Assistant to the Special Agent in Charge and he reported to David Murray, Assistant Special Agent in Charge
(“ASAIC”) for Investigations. ASAIC Murray reported to Deputy Special Agent in Charge Jesse Baker, who was
second in command of the Secret Service Los Angeles Field O ice.

Please note that the allegation in FAC paragraph 57 is incorrect. Please check with AMEX’s counsel to conﬁrm.



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The allegations in FAC paragraph 43 are likewise completely false. Mr. Savage honorably and voluntarily retired
from the Secret Service to pursue a desirable position in a private organization.

The FAC is also devoid of any legal basis to sue Mr. Savage. There was no Fifth Amendment or Fourth Amendment
violation for the reasons set forth in the motion to dismiss and reply brief. The claims are not plausible because
Plainti has no factual basis to sue Mr. Savage. There is no Bivens claim. Even if this were a close case factually—
it is not— Mr. Savage is entitled to qualiﬁed immunity. As set forth in the motion and reply, the FAC is contrary to
numerous controlling legal authorities.

The Court stated in its dismissal order that it was “dubious that any amendment will not be futile.” (Order, at
13.) The FAC does not allege any fact to warrant Plainti continuing to pursue this matter against Mr. Savage.

The FAC adds a Bivens “supervisorial liability” claim. But the United States Supreme Court has expressly ruled
that “Bivens is not designed to hold o icers responsible for acts of their subordinates.” Ziglar v. Abbasi, 582 U.S.
120, 140–41 (2017). A “Bivens claim is brought against the individual o icial for his or her own acts, not the acts of
others.” Id. Please see Mr. Savage’s motion to dismiss and reply brief for additional legal authorities supporting
that settled legal principle.

Assuming arguendo Bivens vicarious liability could be imposed in some case, there is no factual support for such
a claim here because, as the Court made clear, “the idea that [Mr. Savage] authorized things . . . sort of was the
proximate cause of all of this was -- is just rank speculation.” (4/8/24 Tr., at 6:2-4.)

We strongly urge you to dismiss the FAC because we believe further litigation will prove that the FAC is both
factually and legally meritless, just like the complaint. Respectfully, the FAC is actually frivolous. We emphasize
that we do not want to engage in needless litigation.

Please let me know by July 5, 2024, whether you will dismiss the FAC. I believe that my telephone conference with
Mr. McLane last week constitutes compliance with Local Rule 7-3, but I’m available to further discuss the issues
set forth above or anything else you would like to discuss. Please let me know if you would like to set up a call. I’m
fairly ﬂexible over the next couple of days and Friday.

Harv


Harvinder S. Anand | Anand Law Group, P.C.
301 N. Lake Avenue, Suite 600 | Pasadena, CA 91101
Phone: (626) 239-7250 | Fax: (626) 239-7150
Email: Harv@AnandLawGroup.com |www.anandlawgroup.com

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  109:01:49                            UNITED STATES DISTRICT COURT

  2                       CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

  3                       HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

  4

  5
              CHRISTOPHER PSAILA,           )
  6                                         )
                       Plaintiff,           )
  7                                         )
                            vs.             )
  8                                         )           2:23-CV-7120-MWF
              ERIKA GIRARDI, et al.,        )
  9                                         )
                       Defendants.          )
10            _____________________________ )
                                            )
11                                          )
                                            )
12

13

14

15                               REPORTER'S TRANSCRIPT OF HEARING

16                                     Los Angeles, California

17                                       Monday, April 8, 2024

18

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21                             ___________________________________

22                                    AMY DIAZ, RPR, CRR, FCRR
                                      Federal Official Reporter
23                                   350 West 1st Street, #4455
                                        Los Angeles, CA 90012
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  1           APPEARANCES OF COUNSEL:

  2
              For the Plaintiff:
  3

  4                             MCLANE BEDNARSKI & LITT LLP
                                By: Marilyn Bednarski, Attorney at Law
  5                                  David McLane, Attorney at Law
                                975 East Green Street
  6                             Pasadena, California 91106

  7                             STANLEY I GREENBERG, A LAW CORPORATION
                                By: Stanley Greenberg, Attorney at Law
  8                             11845 West Olympic Boulevard, Suite 1000
                                Los Angeles, California 90064
  9
                                BEALKE LAW
10                              By: Bruce Bealke, Attorney at Law
                                77 West Wacker Drive, Suite 45001
11                              Chicago, Illinois 60601

12

13            For the Defendants:

14                              ORRICK HERRINGTON & SUTCLIFFE LLP
                                By: Ben Au, Attorney at Law
15                              631 Wilshire Boulevard, Suite 2C
                                Santa Monica, California 90401
16
                                ANAND LAW GROUP P.C.
17                              By: Harvinder Anand, Attorney at Law
                                301 North Lake Avenue, Suite 600
18                              Pasadena, California 91101

19                              Deann Rivard, Attorney at Law

20

21

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23

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  109:09:06               THE CLERK:     Calling item one, CV-23-7120 Christopher

  209:09:13   Psaila vs Erika Girardi, et al.

  309:09:17               Counsel, please state your appearances for the

  409:09:19   record.

  509:09:20               THE COURT:     Please call the calendar.

  609:09:27               THE CLERK:     I'm sorry, Your Honor, can you hear me?

  709:09:37               THE COURT:     Ms. Diaz, can you hear us?

  809:09:51               MR. MCCLANE:      Your Honor, this is David McLane here

  909:09:53   for the plaintiff, if the Court can hear us.

1009:09:55                THE COURT:     I want to make sure that the clerk and

1109:09:58    the court reporter can hear us.            Yes, I can hear you,

1209:10:03    Mr. McLane.

1309:10:04                Again, would the clerk and court reporter please

1409:10:07    indicate whether you can hear us?

1509:10:10                THE CLERK:     Are you able to hear me now?

1609:10:29                THE COURT:     Just a moment, counsel.

1709:11:08                Counsel, I just spoke to the deputy clerk by phone,

1809:11:15    and he and Ms. Diaz can hear us, but for some reason we are

1909:11:21    not hearing them.

2009:11:23                So let me go ahead, then, and just call the calendar

2109:11:27    myself.     Calling item one, Christopher Psaila vs. Erika

2209:11:34    Girardi, et al., CV 23-7120-MWF.

2309:11:39                Counsel for the plaintiff, please make your

2409:11:43    appearance.

2509:11:45                MR. MCCLANE:      Good morning, Your Honor.          Dave




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  109:11:47   McLane, along with Marilyn Bednarski, Stan Greenberg and

  209:11:51   Bruce Bealke.       We are all present in the attorney lounge on

  309:11:56   the second floor appearing on behalf of Mr. Psaila, who is

  409:12:00   also located in the courtroom.

  509:12:03               I would just note for the record, Your Honor, I

  609:12:05   apologize, when the Court issued, it said it was a Zoom

  709:12:10   hearing, I thought the attorneys could still appear in

  809:12:13   person, so I showed up to the courthouse.               So that is why I'm

  909:12:15   here, but I'm on Zoom.

1009:12:19                THE COURT:     That is fine, Mr. McLane.

1109:12:21                Occasionally, if, say, one person is in San Luis

1209:12:25    Obispo, or something, I'll allow that -- I'll allow that

1309:12:31    person to appear by phone.           Generally, this has been my

1409:12:34    practice starting with the pandemic, that if it's Zoom, it's

1509:12:40    Zoom for everybody.         If it's in the courtroom, then it's

1609:12:43    courtroom for everybody, unless one person might be by

1709:12:45    telephone, because it just -- it's awkward for the staff to

1809:12:50    try to set it up where some people are on Zoom and some

1909:12:54    people are not.       And I also just think that it's somewhat

2009:12:57    unfair.     If there is a good reason to let counsel appear by

2109:13:01    Zoom, then I do that for everyone.

2209:13:03                And as you can imagine, if counsel are in New York

2309:13:06    or Washington, then if they learn that Los Angeles counsel

2409:13:09    want to appear in the courtroom, then they feel pressured to

2509:13:12    fly out here.       And the whole purpose of having things by Zoom




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  109:13:15   is to avoid that.        So you are here, that is fine.

  209:13:19               Let me -- would counsel for the defendants please

  309:13:23   make their appearances.

  409:13:26               MS. RIVARD:      Good morning, Your Honor.          Deann Rivard

  509:13:29   appearing on behalf of Defendants Kenneth Henderson and Steve

  609:13:34   Scarince.

  709:13:37               MR. ANAND:     Good morning, Your Honor.          Harvinder

  809:13:39   Anand for Defendant Robert Savage.

  909:13:46               MR. AU:     Good morning, Your Honor.         Benjamin Au for

1009:13:49    Defendant American Express and Defendant Peter Grimm.

1109:13:53                THE COURT:     Anyone especially on the defense side?

1209:13:58                Counsel, you received my tentative.             In addition to

1309:14:01    the issues which were addressed there, which is whether this

1409:14:10    amounts to an extension of Bivens, there is some other -- I

1509:14:19    tried to present it in as straightforward and simple as way

1609:14:23    as possible, but from your briefs, there is some other issues

1709:14:26    that I'm also interested in, because it just -- I wasn't

1809:14:30    clear necessarily what the arguments of the parties are.

1909:14:36                One is, the first is what the plaintiff's response

2009:14:44    would be to the arguments that are set forth, especially in

2109:14:50    the reply, not solely in the reply, I'm not suggesting it was

2209:14:53    an improper sandbagging, but put very forcefully in the

2309:15:00    reply, that ultimately there is just not enough here under

2409:15:04    Twombly and Iqbal, because each -- essentially as to each set

2509:15:09    of these, the Secret Service defendants, it kind of falls




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  109:15:14   short as to the special agent in charge, he just didn't do

  209:15:19   enough.     And the idea that he authorized things, you know,

  309:15:23   sort of was the proximate cause of all of this was -- is just

  409:15:29   rank speculation, I thought that there was a lot of merit.

  509:15:32               And then also, that for the more subordinate

  609:15:38   officers, that they weren't the ones who supposedly had this

  709:15:43   illicit relationship with Mr. Girardi; that they wouldn't

  809:15:47   have been -- there is just no reasonable inference that they

  909:15:50   would have had any idea of what was going on here, other than

1009:15:53    their boss told them to investigate something, and there was

1109:15:56    plenty, appeared to be, evidence in support of that, and

1209:15:59    obviously, it was enough for the U.S. Attorney's Office and

1309:16:02    the grand jury.

1409:16:03                So I -- I understand the frustration of the

1509:16:09    plaintiff in the sense that it seems that what, from his

1609:16:13    point of view, are these bad actors kind of falling between

1709:16:16    two stools, but that does seem where the allegations get us.

1809:16:20                The other one is that in addition to the

1909:16:25    administrative remedies, which the government -- you know, I

2009:16:29    understand the plaintiff saying, look, I don't really like

2109:16:32    these, these don't do me a whole lot of good, as that may be,

2209:16:35    if the Supreme Court and the Ninth Circuit disagree, then

2309:16:38    that is that.

2409:16:38                But had I -- if somebody had just presented this

2509:16:44    scenario to me independent of these facts, just saying, the




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  109:16:49   special agent in charge was bribed to have this unfounded

  209:16:54   allegation, I would have thought the remedies were, one, just

  309:16:59   a criminal thing, obviously.           But beyond that, from a civil

  409:17:03   point of view, that it would be something that would fall

  509:17:06   within the Federal Tort Claims Act.

  609:17:09               And I'm not sure, having read your briefs, what the

  709:17:14   point of the parties is in that regard.              In regard to the

  809:17:18   plaintiff, I'm -- it seems to me that there is an

  909:17:22   acknowledgement that exists, or perhaps this claim was made,

1009:17:25    but why the facts -- the fact of not having punitive damages,

1109:17:30    of not having a jury trial could possibly be seen as enough

1209:17:35    would, in light of recent Supreme Court and Ninth Circuit

1309:17:39    cases, is, I think, a problem except for the Carlson case,

1409:17:47    the Bureau of Prisons case; in which case I don't think that

1509:17:52    the defendants really dealt with that specific issue.

1609:17:56                You know, even in the replies, there is -- they are

1709:18:00    saying, look, you know, in addition to all of these

1809:18:04    administrative remedies, you also have the Federal Tort

1909:18:07    Claims Act, which, however, there doesn't seem to really be a

2009:18:12    recognition, albeit back in 1980, you know, that there was --

2109:18:18    the Supreme Court did look on this case, albeit for the

2209:18:22    Bureau of Prisons.

2309:18:22                So those are some additional issues that occurred to

2409:18:26    me, in addition to what I just put forth in the written

2509:18:31    tentative.




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  109:18:32               So since the -- my tentative view was to grant the

  209:18:37   motions, let me hear first from counsel for the plaintiff,

  309:18:42   and as well, what -- what is the -- what would the argument

  409:18:49   be that the motions should be granted with leave to amend?

  509:18:56               MR. MCCLANE:      Your Honor, I'll answer addressing

  609:19:01   it -- does the Court want me to address either the Bivens and

  709:19:05   the alternative remedies, or the sufficiency of the

  809:19:09   allegations first?

  909:19:11               THE COURT:     You can do either or both, and in

1009:19:15    whichever order you would like to address them.

1109:19:18                MR. MCCLANE:      Okay.    Well, first of all, with

1209:19:20    respect to the sufficiency of the allegations, Your Honor,

1309:19:26    there is this misnomer that somehow we have all the evidence

1409:19:29    in the case; we don't.         Mr. Greenberg returned the discovery

1509:19:37    to the prosecutor.        We don't have that.

1609:19:39                And secondly, the type of things that would support

1709:19:41    our claims, such as e-mails between the prosecutor and the

1809:19:46    investigators, e-mails between Mr. Savage, Mr. Scarince and

1909:19:51    Mr. Henderson, their memo to the prosecutor about the facts

2009:19:56    and what supports it, what sort of investigation they did,

2109:20:00    the prosecutor memo to decide that we'll proceed with the

2209:20:04    case within the office, the decision to decline prosecution,

2309:20:09    all of that wouldn't be produced in criminal discovery in any

2409:20:12    event.

2509:20:13                And that is the discovery that we would seek in this




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  109:20:16   case that we believe would substantiate the charges.

  209:20:20               And we are at the very beginning stage of this case,

  309:20:23   Your Honor.      I think that we more than met the burden to

  409:20:28   establish placing the defendants on notice.               This is not a

  509:20:33   case that Mr. Savage's counsel cites, this Papasan case.

  609:20:38   That was a fraud case.         Fraud requires, if you read the case,

  709:20:42   Your Honor, that requires heightened particular allegations,

  809:20:46   more specific allegations.

  909:20:48               We are handicapped in this case.           We don't have the

1009:20:52    discovery.      We don't have the kind of evidence, including

1109:20:54    depositions and written discovery to the U.S. Attorney, to

1209:20:58    AmEx, and to the defendants, which would flush out what they

1309:21:02    knew and when they knew it specifically.

1409:21:04                But, Your Honor, what we have alleged is that prior

1509:21:11    to sending in the undercover investigator on December 14th,

1609:21:17    2016, Mr. Girardi, Tom Girardi, was appearing on behalf of

1709:21:22    Mr. Savage in a courtroom where there was -- he was

1809:21:27    representing them on the Volkswagen suit, where he

1909:21:33    promised -- and, Your Honor, I would submit, and there was an

2009:21:35    argument by the defense counsel that we were only citing

2109:21:39    newspaper reports.        Since the filing of the complaint, we

2209:21:42    have the transcript.        And we can amend the complaint and

2309:21:44    allege the specific allegations from the transcript where

2409:21:48    Mr. Girardi said, I will personally pay Mr. Savage $100,000.

2509:21:55    This was the day before they send the agents to interview and




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  109:22:01    interrogate -- and send in Ms. Girardi to do the under

  209:22:06    recording.

  309:22:06               This set in motion a chain of events that led to the

  409:22:11    prosecution of Mr. Psaila.         The Court should ask itself, why

  509:22:17    the Secret Service?        Why not the LAPD?       Why not the FBI?

  609:22:22    Why -- is it a mere coincidence that Mr. Savage is the head

  709:22:27    of the Secret Service?        Is it a mere coincidence that he's a

  809:22:31    good friend of Tom Girardi and Erika Girardi, and this case

  909:22:35    ended in the laps of the Secret Service?             And this is not a

 1009:22:38    coincidence.      And it's a fair inference because of their

 1109:22:41    personal relationship, because of the financial relationship,

 1209:22:44    because of the attorney-client relationship that was never,

 1309:22:48    ever, ever disclosed to the defense, and I doubt was even

 1409:22:51    disclosed to the prosecutor.

 1509:22:55               THE COURT:     And in that sense -- excuse me,

 1609:22:59    Mr. McLane.     This I thought was one of the most persuasive

 1709:23:03    arguments in the reply brief is, what is the basis for

 1809:23:11    thinking that the two subordinate agents were themselves

 1909:23:16    aware of this?      I mean, it just seems to me the most rank

 2009:23:20    speculation.      There is just nothing to suggest that -- it

 2109:23:23    just -- it doesn't -- in the technical sense in which Twombly

 2209:23:27    and Iqbal are using plausibility, it just seems to me that

 2309:23:31    you are thinking it could possibly be the case, and you want

 2409:23:34    the case to go forward, so you can rummage around and get

 2509:23:38    discovery to see if it could possibly be true.               That is




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  109:23:40    exactly what Twombly and Iqbal don't allow.

  209:23:42               In this sense, I think even if I were to be inclined

  309:23:47    to deny the motion as to Special Agent Savage, at least on

  409:23:52    this point, what is the basis, then, for not granting it for

  509:23:56    the other two agents?

  609:23:58               MR. MCCLANE:      Your Honor, this is the basis, the

  709:24:00    basis is this:      That Scarince is second in charge at the

  809:24:04    Secret Service in LA.        He works directly below Savage.           This

  909:24:09    wasn't supervised by a lower-level supervisor just above --

 1009:24:14    just above Mr. Henderson.         This was supervised by the Chief

 1109:24:20    of the Secret Service in LA.          This was supervised by the

 1209:24:23    second in command.

 1309:24:26               And there it's a fair inference that there would be

 1409:24:31    questions by Mr. Henderson and Mr. Scarince as to why we are

 1509:24:36    taking this case.       What is the basis for taking this case?

 1609:24:40    And I think it's a fair inference that Mr. Savage would have

 1709:24:44    disclosed to them the basis that, I know Tom Girardi, that

 1809:24:49    we -- I want to investigate this case for my friend.                 And I

 1909:24:54    think that is a fair inference from the relationship between

 2009:24:57    Mr. Savage and Mr. Girardi, and Mr. Savage and Mr. Scarince.

 2109:25:03               And, Your Honor, that is why I think that would be

 2209:25:06    the basis as to why that information was a fair inference

 2309:25:11    from our pleadings, is that that information was shared with

 2409:25:15    Mr. Scarince and Henderson.          I would disagree that it's rank

 2509:25:18    speculation.




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  109:25:19               It could be common knowledge within any

  209:25:22    investigative agency that the agents who are doing the

  309:25:28    investigation would want to know why are we investigating

  409:25:30    this case.

  509:25:31               THE COURT:     But the Secret Service investigates

  609:25:33    credit card fraud all the time.           You know, it's not like it's

  709:25:36    the NASA Inspector General, or something.

  809:25:40               MR. MCCLANE:      But because of the nature of the

  909:25:41    victims, Your Honor, Tom Girardi and Erika Girardi, that I

 1009:25:45    think is a natural and fair inference that that would have

 1109:25:48    piqued the inference of both Mr. Scarince and Mr. Henderson

 1209:25:51    to find out what is going on here?            Why are we investigating

 1309:25:55    this case?     How did we get this case?         That is why I think it

 1409:25:58    would have -- she would have gone to -- that they would have

 1509:26:06    gone to -- they would have figured out or asked, why do we

 1609:26:10    have this case?

 1709:26:11               And -- and Erika Girardi actually says in her

 1809:26:15    declarations in the anti-SLAPP that she went to Mr. Savage

 1909:26:18    because she knew him, because of their personal relationship.

 2009:26:22               And, Your Honor, right after the December 14th, the

 2109:26:29    investigation -- the -- when Mr. -- when they did the

 2209:26:32    undercover interview, that is when Mr. Henderson --

 2309:26:37    Mr. Savage contacted Mr. Grimm with AmEx, and then Mr. Grimm

 2409:26:44    starts supplying information to Mr. Henderson.               There is a

 2509:26:48    close loop there in the nexus.           It wasn't, Mr. Savage was




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  109:26:52    sitting in an ivory tower and not communicating with

  209:26:56    Mr. Scarince and Mr. Henderson, they were well-connected in

  309:27:01    this case from the get-go.

  409:27:03               And that is why when there is speculation that

  509:27:08    the -- that what the defendants contend is speculation that

  609:27:11    Mr. Scarince and Mr. Savage would be actively involved in

  709:27:17    terms of pursuing the search warrant, in terms of the

  809:27:20    allegations in the search warrant, in terms of the meetings

  909:27:23    between Henderson and Erika Girardi and Mr. Pence concerning

 1009:27:28    just before the indictment was returned, we allege that

 1109:27:32    Mr. Scarince and Mr. Savage approved and ratified it. But

 1209:27:36    that is a fair inference from the evidence.

 1309:27:39               And why, Your Honor, you might ask?            Because

 1409:27:41    Mr. Henderson was a young investigator.             Mr. Scarince showed

 1509:27:46    up at the time of the search warrant, at the execution of the

 1609:27:50    search warrant, and interviewed Mr. Psaila.              He was involved

 1709:27:54    the whole way through.        It would have made sense that when

 1809:27:58    that search warrant affidavit was drafted and reviewed by

 1909:28:02    Mr. Henderson, that both Mr. Savage, Savage as an interested

 2009:28:11    party, who is trying to help his friend, which is what we

 2109:28:14    allege, and I think is a very fair inference from the

 2209:28:17    evidence, would have been involved in reviewing that search

 2309:28:21    warrant affidavit.       And also, would have been involved in

 2409:28:26    just before the indictment and what evidence that they had.

 2509:28:29               And we know, also, Your Honor, is that we alleged in




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  109:28:35    the complaint that after the execution of the search warrant,

  209:28:38    that Mr. Henderson was placed on notice that all the

  309:28:42    transactions would have been justified, and that there was

  409:28:47    texts, e-mails, sketches, et cetera, in the evidence seized

  509:28:52    by the Secret Service.

  609:28:55               And what does Mr. Henderson do?           He goes to

  709:28:59    Washington D.C. to then be involved in protecting the

  809:29:03    president.     So what goes on with the evidence?            Someone has

  909:29:06    to step into the breach.         That would have been Mr. Scarince

 1009:29:10    and Mr. Savage, who are in Los Angeles.             They would have

 1109:29:14    reviewed the evidence.        They had access to the evidence.

 1209:29:18               And what we allege is when we are talking about a

 1309:29:21    due process violation, Your Honor, under the jury

 1409:29:24    instructions 9.33, it doesn't require that you actually have

 1509:29:30    to know that you are fabricating evidence, but you act with

 1609:29:36    reckless disregard to an individual's innocence.

 1709:29:39               And that is our allegation here, Your Honor, is that

 1809:29:42    after they seized all the evidence -- and probable cause is a

 1909:29:47    continuing thing.       It's a probable cause that you determine

 2009:29:49    at the time of seeking the indictment; not just at the search

 2109:29:52    warrant.     And if it evaporates and eviscerates at that point

 2209:29:56    in time, then you -- you know, if -- if the evidence in your

 2309:30:01    possession shows that a person is innocent, then you are not

 2409:30:05    supposed to seek a grand jury indictment, which they --

 2509:30:09               THE COURT:     Look, Mr. McLane, it's not, in theory at




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  109:30:14    least, it's not that failure to acknowledge overwhelming

  209:30:22    evidence cannot possibly make out the sort of claim.

  309:30:25               I mean, I had a Section 1983 claim where the jury

  409:30:28    returned it against the LAPD detective because it -- it

  509:30:34    relied entirely on the testimony of one witness, and there

  609:30:37    was just complete, clear, unambiguous evidence that that

  709:30:42    witness was this incorrigible liar, both in that case and in

  809:30:47    other cases, and the detective knew that.              And I didn't --

  909:30:49    you know, I'm sure that is why the jury returned the verdict

 1009:30:53    against her.

 1109:30:54               Here, I mean, maybe -- look, and I'm saying this

 1209:30:58    just hypothetically, but maybe Agent Scarince just wasn't a

 1309:31:00    very good agent.       You know, maybe he should have analyzed

 1409:31:03    this stuff.     But the idea that that somehow is this

 1509:31:07    constitutional violation, obviously, the U.S. Attorney's

 1609:31:11    Office didn't expect it to be analyzed.             The AUSAs thought

 1709:31:14    there was probable cause.         The grand jury thought there was

 1809:31:16    probable cause.

 1909:31:17               I just -- this idea, then, that -- you are acting as

 2009:31:22    if there was some letter in these documents in which it was

 2109:31:25    set out, you know, sealed in blood between Mr. Savage and the

 2209:31:32    Girardis, that he was in on -- that he was being bribed or he

 2309:31:35    was in on this, or that, you know, We intend to get this much

 2409:31:39    money back from American Express, and we'll give you your

 2509:31:43    cut.   I just -- and that somehow that was just -- that was




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  109:31:46    known to Mr. Henderson, and he chose to ignore it.                The

  209:31:52    situation as it's put forth in your own complaint is just so

  309:31:56    different from that.

  409:31:58               MR. MCCLANE:      Well, Your Honor, I would say this,

  509:32:00    Your Honor:     That they were on notice that Chris Psaila

  609:32:05    e-mailed Mr. Henderson and said, All the evidence is on the

  709:32:11    computers, the evidence you seized.            I need that back, so I

  809:32:15    can do business again.        There is texts, e-mails, and et

  909:32:22    cetera that support what we charged Ms. Girardi.

 1009:32:26               They were on notice that there is evidence of

 1109:32:27    innocence, and you then go to the grand jury.               And they went

 1209:32:30    to the grand jury on these seven specific charges, Your

 1309:32:33    Honor, seven specific charges where they had the evidence.

 1409:32:37    And Ms. Girardi says in the meeting the day before they went

 1509:32:41    to the grand jury, and I suspect that Mr. Henderson testified

 1609:32:44    before the grand jury, that she said that there was no

 1709:32:48    evidence in her records supporting the seven charges.

 1809:32:54               Well, they had the evidence there in their

 1909:32:56    possession.     They had information that Chris Psaila told them

 2009:33:02    that they had evidence in their possession, and they acted

 2109:33:04    with reckless disregard to his innocence.              That is the jury

 2209:33:07    instruction 9.33.       We don't have to prove that they knew that

 2309:33:14    she was lying for sure, but that they acted with reckless

 2409:33:18    disregard to the facts.         And they did, Your Honor.         That is

 2509:33:20    all we have to allege.




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  109:33:24               Remember, this is just at the pleading stage, Your

  209:33:26    Honor.    This is not after discovery has been conducted in

  309:33:28    this case.

  409:33:29               So I think we have alleged sufficient evidence to

  509:33:32    get at least beyond the pleading stage.

  609:33:35               THE COURT:     Let's turn to, then, why these various

  709:33:41    alternatives are insufficient, and Bivens then is the

  809:33:47    required remedy.

  909:33:49               MR. MCCLANE:      Your Honor, this is -- and I think

 1009:33:55    about this case, and I know where the Supreme Court is going

 1109:33:57    here, and I think the Court knows where the Supreme Court is

 1209:34:00    trying to head, but they are not there yet.

 1309:34:04               The Supreme Court, and I've read the cases, have

 1409:34:07    criticized the common law remedy of Bivens.              And they say if

 1509:34:12    Congress wants to pass a law to hold federal agents

 1609:34:15    responsible, then Congress should pass a law.

 1709:34:17               But notably, the Supreme Court has not overruled

 1809:34:20    Bivens.    It has not overruled Hartman vs. Moore that says

 1909:34:24    that a person can proceed on a Bivens action for malicious

 2009:34:28    prosecution.      Those cases are still good law.           They are still

 2109:34:33    binding on this Court.        There is still a Bivens common law

 2209:34:37    remedy.

 2309:34:38               And why was Bivens enacted in the first place?

 2409:34:42    Because it seems illogical that federal law enforcement

 2509:34:46    officers, who are the role models for local police officers,




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  109:34:50    they can willy-nilly violate an individual's rights; yet

  209:34:54    local police officers can be held responsible under Section

  309:34:58    1983.    We are -- and Section 1983 for excessive force, where

  409:35:05    an officer makes a split-second decision, that they think

  509:35:08    that the defendant is armed.

  609:35:10               We are alleging something far more serious here.

  709:35:14    That in the cold of night, with contemplation, these ordinary

  809:35:18    law enforcement officers, acting on behalf of the Secret

  909:35:23    Service, engaged in the plan because it benefited Mr. Savage

 1009:35:29    personally, professionally, and transactionally to conspire

 1109:35:34    with the Girardis to maliciously prosecute Mr. Psaila.

 1209:35:42               And I would just say, Your Honor, you just said it

 1309:35:45    yourself, the Secret Service prosecutes credit card fraud all

 1409:35:50    the time.     It's a routine case.        I would ask the Court to

 1509:35:53    look at the Supreme Court cases where it said, No, we are not

 1609:35:57    going to extend Bivens to this context.             They are

 1709:36:01    dramatically different, dramatically different cases.                 They

 1809:36:04    are not routine cases.

 1909:36:06               Like the D.C. case, that was a case where they were

 2009:36:12    suing President Trump, and they were seeking injunctive

 2109:36:15    relief.    That is not a routine case.          This case involves

 2209:36:19    ordinary law enforcement action.

 2309:36:21               What is the meaningful difference that the

 2409:36:24    defendants allege here in this case?            Basically, the

 2509:36:27    meaningful difference is that they are saying that it's not




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  109:36:30    like Bivens because they got a search warrant; whereas, in

  209:36:37    Bivens, they just -- they did it -- they conducted an illegal

  309:36:40    search.

  409:36:41               Your Honor, I would respectfully submit that the

  509:36:43    meaningful -- that is a difference that is not meaningful.

  609:36:48    Because under Franks v. Delaware, under all the cases

  709:36:53    involving search warrants, the analysis is basically the

  809:36:55    same:    You excise the falsehoods from the search warrant

  909:36:59    application, and you still decide whether there is probable

 1009:37:02    cause or not.

 1109:37:04               So whether you have a search warrant or not, if you

 1209:37:06    allege misconduct in the affidavit and falsehood, which we

 1309:37:11    have done here, the Court still analyzes whether there is

 1409:37:14    probable cause.

 1509:37:14               Secondly, Your Honor, the big meaningful difference,

 1609:37:18    especially with respect to Mr. Savage, is that he's a

 1709:37:21    higher-level official and he shouldn't be bothered with

 1809:37:25    having to defend -- having to defend this lawsuit personally

 1909:37:30    because of being a higher-level official.

 2009:37:33               Well, first of all, he's no longer in the

 2109:37:35    government.     He's no longer a high-level official.             This will

 2209:37:39    not intrude on any executive or the actions of the Secret

 2309:37:45    Service at this time.

 2409:37:46               Second of all, Your Honor, he -- he did not act as

 2509:37:51    an executive overseeing, you know, the agents who were




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  109:37:58    handling this case on their own.

  209:38:00               What they -- what they -- what they did in this

  309:38:03    case, Your Honor, he was personally involved.               He's the --

  409:38:06    he's the reason this case was brought in the first place.                     He

  509:38:14    absented himself from the role of being --

  609:38:15               THE COURT:     Mr. McLane, I need to hear from both

  709:38:18    sets of defendants.        And like I said, I'm giving the parties

  809:38:22    an hour for this, but I do have a full 10:00 calendar.

  909:38:25               So what I -- let me ask you to address, then, what

 1009:38:30    in your view is the, both the status and the significance of

 1109:38:35    the Federal Torts Claims Act?

 1209:38:38               MR. MCCLANE:      Well, we have been very transparent,

 1309:38:41    Your Honor.     We said in our complaint, we are not hiding the

 1409:38:43    ball on anything.       We said we are going to file an FTCA

 1509:38:47    claim; we did.      It was denied February 9th.

 1609:38:50               I sent an e-mail to all parties asking their

 1709:38:54    position, and this was like a couple of months ago, that I

 1809:38:58    plan on amending a complaint, would they oppose?               Would they

 1909:39:04    oppose the amendment?        And I haven't heard from anyone

 2009:39:08    whether they oppose the amendment or not, but I'm going to do

 2109:39:12    a meet and confer letter.         And we are going to amend.

 2209:39:15               We always knew that Bivens in this context was a

 2309:39:19    challenging context in light of where the Supreme Court is

 2409:39:21    going.    But the Supreme Court is not there yet, Your Honor.

 2509:39:25               So where we are on this:         They say that the FTCA is




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  109:39:30    an adequate remedy, but the United States is not in this

  209:39:33    case.    And I know that they are going to be filing a motion

  309:39:37    to dismiss.     They are going to argue that it's a

  409:39:42    discretionary function.         They are going to argue that we

  509:39:45    can't bring it because this is a government action; not a

  609:39:48    private action.

  709:39:50               And, Your Honor, I would proffer this that I learned

  809:39:57    from counsel for Mr. Scarince and Mr. Henderson in a

  909:40:02    conversation, she said that she was hired to represent

 1009:40:07    Mr. Henderson and Mr. Scarince; that they had a nondisclosure

 1109:40:11    agreement with the government, and that they were being

 1209:40:16    indemnified.      And she said that Mr. Savage was not being

 1309:40:19    indemnified, okay?       That is what she said in the

 1409:40:24    conversation.

 1509:40:25               THE COURT:     Counsel, look, this really isn't in

 1609:40:27    front of me right now.        I'm not going to base a ruling on a

 1709:40:31    conversation between lawyers.          But the --

 1809:40:34               MR. MCCLANE:      Okay.

 1909:40:35               THE COURT:     -- the question, then, here is

 2009:40:38    whether -- I understand your point.            So it seems to me you've

 2109:40:41    got -- well, there was one argument you made in your briefs,

 2209:40:43    which was that the FTCA is insufficient based on the old

 2309:40:49    Bureau of Prisons case from 1980, the Carlson case.

 2409:40:53               And then the second one you are saying right now, is

 2509:40:55    who knows if there even is an FTCA claim, because it's going




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  109:41:01    to get added, but when it gets added, maybe it will get get

  209:41:05    dismissed.

  309:41:06               MR. MCCLANE:      The only point I would add, Your

  409:41:08    Honor, just real briefly, because I know you want to hear

  509:41:10    from the defendants, and they should have an opportunity to

  609:41:12    be heard, is there will be a course and scope argument made.

  709:41:15    And that is the only reason I have brought this up.                If the

  809:41:18    government's not indemnifying Mr. Savage, then they are going

  909:41:22    to move to dismiss the complaint against -- on the FTCA,

 1009:41:26    alleging that Mr. Savage was acting outside course and scope.

 1109:41:34               THE COURT:     I understand your argument.

 1209:41:35               MR. MCCLANE:      But that is a real concern for me.

 1309:41:38               And so we are going to amend and add an FTCA claim.

 1409:41:41    That should be within the next month.            I hope the parties

 1509:41:44    don't object to it.        It would be in their interest to have

 1609:41:48    it.

 1709:41:48               THE COURT:     Counsel, please.

 1809:41:49               MR. MCCLANE:      Sorry.

 1909:41:50               THE COURT:     If I give you leave to amend, then you

 2009:41:53    can go ahead and do it.

 2109:41:56               But for now, what is -- what specifically would

 2209:42:03    you -- and you have mentioned that you've gotten the

 2309:42:06    transcripts.      So what else would you do to strengthen the

 2409:42:10    Bivens claim if I gave you leave to amend?

 2509:42:13               MR. MCCLANE:      Your Honor, we would add the




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  109:42:16    allegations from that.        I would analyze the evidence more

  209:42:19    carefully to see if there are additional facts that I can

  309:42:24    allege that would satisfy the Court.            We believe that we have

  409:42:28    alleged sufficient, but I understand the Court's concern.

  509:42:32    But we should be given that opportunity at this stage for

  609:42:38    leave to amend, and analyze it in light of the arguments that

  709:42:41    they have made, and see if, based on what we have right now,

  809:42:45    whether we have additional facts.

  909:42:46               But certainly we have the transcript of the

 1009:42:49    allegations with Mr. Girardi, and I -- also review and see if

 1109:42:55    there is additional allegations against Mr. Henderson and

 1209:42:57    Mr. Scarince.

 1309:42:59               THE COURT:     All right.      Thank you.

 1409:43:00               Let me hear from counsel for Messrs. Henderson and

 1509:43:05    Scarince.     And in particular, I mean, both to respond to the

 1609:43:08    argument we just heard, but also in particular, let's say

 1709:43:13    that the arguments were even more pointed against them, that

 1809:43:16    there was this true malicious prosecution, where the

 1909:43:23    allegation with facts supporting it under Twombly and Iqbal

 2009:43:27    said, look, they -- they misused their offices because Erika

 2109:43:36    Girardi said to them, Look, this is a concoction to get money

 2209:43:40    from American Express, and we are going to share that money

 2309:43:42    with you.     So please make sure that Mr. Psaila gets indicted.

 2409:43:46               In that case, what -- are you saying that there

 2509:43:52    would not be a federal tort          -- there wouldn't be the federal




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  109:43:56    tort on that sense?        Or are you saying that they also

  209:43:59    couldn't be sued under Bivens?

  309:44:01               I mean, it seems to me that given such egregious

  409:44:05    conduct, there should be some sort of lawsuit somewhere that

  509:44:09    Mr. Psaila could avail himself of.

  609:44:12               So I just want to find out, then, what is the

  709:44:14    position of Messrs. Henderson and Scarince in regard to -- in

  809:44:21    regard to that situation, where it seems to me that there is

  909:44:24    this argument that they -- that the only remedies would be

 1009:44:28    the administrative remedies.          And perhaps that is sufficient

 1109:44:32    under the new Supreme Court case law, but it does -- I would

 1209:44:40    understand Mr. Psaila's frustration if that, in fact, is the

 1309:44:45    law.

 1409:44:47               MS. RIVARD:      Thank you, Your Honor.

 1509:44:47               I would ask that plaintiff's counsel mute himself,

 1609:44:50    because noise keeps coming through, and I don't want it to

 1709:44:53    interfere with the record on my end, at least.               And apologies

 1809:44:59    for that.

 1909:45:00               Good morning, Your Honor.          Thank you very much.

 2009:45:01               Counsel for plaintiff has stated that he has

 2109:45:06    transcripts of the court appearance in the case involving

 2209:45:12    Mr. Savage that Mr. Girardi was representing him on.

 2309:45:17               And so, an analysis of those transcripts, I think if

 2409:45:22    there is in the transcripts some sort of statement that

 2509:45:27    Messrs. Henderson or Scarince were somehow in on the bribery




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  109:45:37    scheme that is alleged in the complaint, then by all means,

  209:45:42    that would be egregious government conduct.

  309:45:45               However, there is no evidence that Messrs. Henderson

  409:45:50    or Scarince have had or had any prior knowledge of the

  509:45:59    alleged relationship between Savage and Girardi, such that it

  609:46:08    could be imputed that their investigation of plaintiff was

  709:46:16    based on anything other than a referral by a supervisor to

  809:46:21    conduct an investigation.

  909:46:23               I will point, also, to plaintiff's complaint and the

 1009:46:30    wording of the complaint, that there was no allegation that

 1109:46:37    either Agent Henderson or Scarince knew, or reasonably should

 1209:46:43    have known at the time, that Ms. Girardi was lying.

 1309:46:49               And point of fact, there was an interview of Ms.

 1409:46:56    Girardi.     There was a surreptitious recording of plaintiff,

 1509:47:05    where plaintiff accepted responsibility, and said that he

 1609:47:10    would find a way of paying Ms. Girardi back, even if he had

 1709:47:15    to take out a loan.

 1809:47:17               These are not actions that would cause any law

 1909:47:21    enforcement officer to believe that there was not fraud such

 2009:47:26    that they would be on notice that this investigation was

 2109:47:32    untoward in any way.

 2209:47:33               And as the Court pointed out, the Secret Service

 2309:47:36    regularly investigated these types of crimes.               And so it's

 2409:47:40    not -- it's not something that would cause a reasonable law

 2509:47:49    enforcement officer with the Secret Service to question being




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  109:47:55    assigned to this type of investigation, or would cause or

  209:48:00    instigate an investigation of the supervisor assigning them

  309:48:04    to the case.

  409:48:05               And so for that reason, there is no allegation of

  509:48:15    true malicious prosecution that can be made against them

  609:48:25    regardless.

  709:48:25               The Court asked if there was some other remedy.

  809:48:29    Well, the remedy is provided by Congress with the Federal

  909:48:32    Tort Claims Act.       And, you know, it is a remedy.          And case

 1009:48:41    law has held that even if a remedy doesn't please all

 1109:48:46    plaintiffs, it is nonetheless a remedy, and that it's -- and

 1209:48:54    I'll quote from -- excuse me for a moment -- Ziglar vs.

 1309:49:08    Abbasi.    Apologies.      I apologize.     I can't find the exact

 1409:50:09    quote that I'm looking for, and I apologize for that.

 1509:50:11               Regardless, there are administrative remedies that

 1609:50:14    are available to the plaintiff.           And it is defendants'

 1709:50:20    Henderson and Scarince's position that there is no claim for

 1809:50:26    malicious prosecution.

 1909:50:27               And point of fact, having been a county prosecutor,

 2009:50:35    in applying for a search warrant, the law enforcement officer

 2109:50:41    presents the information, and a judge is able to request

 2209:50:46    additional information if the judge does not find that there

 2309:50:52    is sufficient probable cause.

 2409:50:54               And in this case, there is no allegation that these

 2509:50:57    defendants, Henderson and Scarince, hid anything from -- from




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  109:51:06    the judge.     As far as they knew, Ms. Girardi was telling the

  209:51:12    truth.    And it was corroborated by plaintiff's statements in

  309:51:24    a surreptitious conversation that was recorded.               And American

  409:51:31    Express corroborated the information that was being presented

  509:51:36    in the search warrant.

  609:51:37               And so there is no -- there is no claim that

  709:51:43    Henderson or Scarince hid evidence from a judge in order to

  809:51:48    obtain probable cause imprimatur from a court.

  909:51:56               And with that, I'll submit.

 1009:51:58               THE COURT:     Thank you.

 1109:51:59               Mr. Anand, what do you have to say on behalf of

 1209:52:05    Mr. Savage?     You are muted, sir.

 1309:52:12               MR. ANAND:     I apologize, Your Honor.          Thank you.

 1409:52:14               Your Honor, to say the complaint is so -- it's just

 1509:52:20    filled with supposition upon supposition.              And it starts with

 1609:52:23    this bribery allegation.         And, you know, let's recall that

 1709:52:26    that is alleging somebody committed a crime.              And it is

 1809:52:30    really remarkable that somebody would make that allegation

 1909:52:34    with absolutely zero factual support.

 2009:52:37               And I laid it out in my papers, Your Honor, I'm not

 2109:52:41    going to repeat it all, but the idea that there was a bribe

 2209:52:44    here is refuted by their own allegation.             It's a legal

 2309:52:48    conclusion, and it is just completely -- there is no basis

 2409:52:51    for it, and they just make it up, and it's just wrong.

 2509:52:55               And from there, they go on to say Mr. Savage engaged




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  109:52:59    in some parade of horribles.          And it's all based on a bunch

  209:53:05    of false statements.        And again, it is a false statement to

  309:53:08    say that Agent Scarince was the second in charge of the

  409:53:13    Secret Service, that is just false.

  509:53:17               THE COURT:     Mr. Anand, I have to accept the

  609:53:19    allegations that are in the complaint.             I mean, the whole

  709:53:21    point of going forward with discovery and a trial is to

  809:53:24    determine whether these things would be true or not.                 So that

  909:53:27    is not the point.

 1009:53:30               In the unlikely event that Mr. Savage brings some

 1109:53:33    later motion under Rule 11 saying there is no basis for this

 1209:53:36    complaint, then that -- then that matter would be raised, but

 1309:53:40    as it is, I'm going to accept these things as true.

 1409:53:43               Now, the other point that you are making, which is

 1509:53:46    at some point you just, it's supposition based on supposition

 1609:53:51    based on supposition, then that is a perfectly fine argument

 1709:53:54    here.    It's the whole basis of Twombly and Iqbal.

 1809:53:59               So here, you know, one of the things that you raised

 1909:54:02    in your brief was that there -- regardless of what Mr. Savage

 2009:54:08    might have done, that he just wasn't then involved enough in

 2109:54:12    later events to really show that he was kind of -- that his

 2209:54:16    actions were really the proximate cause here of the

 2309:54:20    indictment.

 2409:54:21               So why don't you explain the argument further for

 2509:54:25    me.




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  109:54:27               MR. ANAND:     Yes, Your Honor.       The only point I was

  209:54:29    making with regard to the levels is I think the Court can

  309:54:31    tell from its judicial experience that there is multiple

  409:54:34    layers of review within an organization like the Secret

  509:54:38    Service.     Anyway, I won't belabor the point, Your Honor.

  609:54:42               In terms of there not being any kind of connection,

  709:54:47    Fourth Amendment, Your Honor, it is not enough to say that

  809:54:52    upon information and belief that there was a reckless

  909:54:55    adoption of this search warrant affidavit.

 1009:54:58               I cited a Second Circuit case, Your Honor.              There is

 1109:55:00    also numerous Supreme Court cases saying that you have to

 1209:55:04    show actual direct involvement.           There is no respondeat

 1309:55:09    superior under -- for a constitutional violation, or Bivens

 1409:55:14    violation.

 1509:55:15               The same thing goes for the Fifth Amendment

 1609:55:21    allegation, Your Honor.         There is no Brady evidence here.

 1709:55:24    Brady is not required.        There is no showing of malicious

 1809:55:28    prosecution, because Mr. Savage was not even -- there is not

 1909:55:32    a single allegation even spoke to the government; that the

 2009:55:36    AUSA or the prosecutors made an independent decision.                 There

 2109:55:40    is a presumption of regularity.           There is -- there has to be

 2209:55:44    a showing that the -- in order to overcome that, there has to

 2309:55:48    be a showing that the agent or law enforcement officer

 2409:55:50    actually unduly influenced, or kind of caused the government

 2509:55:55    to do something to overcome the presumption of regularity.




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  109:55:58               So when you break it down, Your Honor, there is no

  209:56:01    Fourth Amendment violation.          There is no Fifth Amendment

  309:56:03    violation.     There is no malicious prosecution.

  409:56:06               And, you know, the one thing that is notably absent

  509:56:10    from the complaint, and from the argument this morning, is

  609:56:14    the defendant's own words, which are strategically omitted

  709:56:20    from the complaint because they undermine his claim.

  809:56:23               And as the Court noted earlier, there was -- the way

  909:56:27    this case proceeded was Ms. Girardi came in, she made an

 1009:56:33    allegation.     Even the plaintiff claims that she lied to the

 1109:56:36    Secret Service.      There is absolutely not even a single

 1209:56:39    factual allegation to show anybody that the Secret Service

 1309:56:43    knew those were lies.

 1409:56:44               There was an investigation.          The defendant's own

 1509:56:48    recording corroborated and supported the allegations of Ms.

 1609:56:51    Girardi.     And that led to a search warrant, which was issued

 1709:56:55    by the magistrate judge.

 1809:56:57               There is no Franks analysis.          I cited a Ninth

 1909:57:00    Circuit case showing that they have to do a Franks analysis;

 2009:57:03    otherwise, the Bivens claim should be dismissed.               That is not

 2109:57:03    done.

 2209:57:08               And then from there, the Girardi, Ms. Girardi is

 2309:57:12    asked the day before indictment by the government, Are these

 2409:57:14    seven allegations in the indictment, were these paid?                 And

 2509:57:19    she again represents that these were not paid.               These are




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  109:57:22    fraudulent.     These -- these were not provided, so these are

  209:57:28    fraudulent claims.

  309:57:28               Again, that is Ms. Girardi causing the government to

  409:57:31    issue the indictment.        Mr. Savage isn't even there for that.

  509:57:35    They have a report for that interview.             Mr. Savage is not

  609:57:37    there.    He is not involved in any way.

  709:57:39               And then you have AmEx, also another independent,

  809:57:42    third-party, acting independently, and issuing a refund.

  909:57:46               So there is literally nothing here, Your Honor.

 1009:57:50    They have a total of two factual allegations that they have

 1109:57:53    pleaded as to what Mr. Savage himself did, and that is in my

 1209:57:57    reply.    This is not a plausible claim.           It's not even close,

 1309:58:03    we would submit, Your Honor, respectfully.

 1409:58:04               Under Bivens, under the Court's analysis, which the

 1509:58:12    tentative indicates, this is a new context for the reasons

 1609:58:15    the Court stated.

 1709:58:16               And Pettibone itself holds that the administrative

 1809:58:19    remedy, reporting it to the Department of Homeland Security

 1909:58:23    Inspector General, that is a sufficient alternative remedy.

 2009:58:23    Pettibone controls.

 2109:58:28               There are District Court cases, which I cited in my

 2209:58:30    motion, Your Honor, which hold the FTCA is also an

 2309:58:35    alternative remedy.

 2409:58:37               I wanted to deal with the statement, which really

 2509:58:39    should never even be made, it's improper, what another




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  109:58:46    attorney said to him, it's not in the papers, not in the

  209:58:48    complaint.     Total hearsay.      And it's wrong.

  309:58:52               The Secret Service, my understanding is, has said

  409:58:54    Mr. Savage was acting within the course and scope.                So that

  509:58:58    claim is just wrong and not true.           But it shouldn't even be

  609:59:00    raised here as part of argument.           That's improper.

  709:59:04               Your Honor, I could go on and on here.             But I think

  809:59:06    that addresses the Court's questions.            This claim really,

  909:59:11    really should have never been brought against Mr. Savage.

 1009:59:14    And I think it cannot be fixed.           I don't see how they can

 1109:59:19    overcome all these numerous hurdles that they've got, but I

 1209:59:22    could understand that the Court wants to give them one chance

 1309:59:24    to do it.     But I really don't see how it could be done.

 1409:59:27               And, you know, we'll deal with it.            If they come

 1509:59:30    back and they start -- let me just address the transcript.

 1609:59:34    One issue with the transcript, they allege in the complaint

 1709:59:37    what Mr. Girardi said, and it's on the record, and they quote

 1809:59:40    what Mr. Girardi said to the District Court Judge in Northern

 1909:59:44    California; which is, he said, Look, I'm -- if the Court is

 2009:59:47    upset with me, I'll pay myself the $100,000.              They were

 2109:59:51    paying $7,500, which is the exact amount for which Mr. Savage

 2209:59:55    was due for damages.        I'm not sure what the transcript is

 2309:59:58    going to add to that.        They've already got that allegation in

 2410:00:01    their complaint.

 2510:00:01               THE COURT:     All right.      Thank you, counsel.




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  110:00:03               MR. ANAND:     If the Court has any questions, I'm

  210:00:05    happy to address them, Your Honor, but I don't need to

  310:00:08    belabor these points.

  410:00:09               THE COURT:     Mr. Anand, thank you.

  510:00:11               Mr. McLane, briefly.        You are muted.

  610:00:22               MR. MCCLANE:      Okay.    Am I muted now, Your Honor?

  710:00:25               THE COURT:     You are not.

  810:00:25               MR. MCCLANE:      Okay.    Thank you, Your Honor.

  910:00:27               Real briefly.      I think what both defendants do, is

 1010:00:36    that they gloss over -- and this is a much more

 1110:00:39    densely-pleaded complaint than normally would be pleaded at

 1210:00:42    this stage when we don't have the discovery in this case.

 1310:00:44               For example, they keep talking about these

 1410:00:48    administrative remedies being adequate.             What administrative

 1510:00:51    remedy?    There is no administrative remedy for damages.                  And

 1610:00:55    we cited in our opposition, Your Honor, how the

 1710:01:00    administrative remedies very rarely ever result in any

 1810:01:05    discipline of any officer.           We cited the statistics that

 1910:01:09    showed the administrative remedies are inadequate.                And they

 2010:01:14    are not anywhere near a remedy for Mr. -- for Mr. Psaila.

 2110:01:19               Yes, the FTCA could potentially be a remedy.               We

 2210:01:23    could potentially have a judge trial where we could allege

 2310:01:28    the same malicious prosecution claim but without the

 2410:01:32    defendants individually sued.           But what -- when we are

 2510:01:36    talking about whether -- and the Supreme Court analysis is




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  110:01:41    whether the alternative remedy provides a level of

  210:01:47    deterrence, they use the language "level of deterrence" for

  310:01:50    the conduct.

  410:01:52               And I think the Court, in its experience, knows

  510:01:55    unless there is personal accountability, and the threat of a

  610:01:58    lawsuit against an individual, and it just can be passed off

  710:02:02    to the United States to have to pay damages, there is not

  810:02:07    that level of deterrence.

  910:02:09               So that is why we say the FTCA itself is not even

 1010:02:13    adequate.

 1110:02:14               As far as the allegations, we keep hearing that

 1210:02:17    there is no allegations whatsoever.            I don't know, Your

 1310:02:22    Honor.    I will just say a couple of comments, and then I'll

 1410:02:25    let the Court decide.

 1510:02:26               First of all, after all three of these agents are no

 1610:02:31    longer on the case, and there is a new case agent on the

 1710:02:37    case, this case was dismissed, okay?            I think that is a very

 1810:02:41    significant fact.       Why did that happen?        These agents were no

 1910:02:46    longer involved, no longer pushing the ball towards

 2010:02:49    prosecution.

 2110:02:50               The second thing I would say is that this case

 2210:02:53    started and began with a personal relationship between Tom

 2310:02:57    Girardi and Mr. Savage.         And that was never disclosed to the

 2410:03:02    defense throughout the prosecution.            And I doubt that the

 2510:03:06    U.S. Attorney -- and it might even be one of the grounds, I'm




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  110:03:11    speculating at this point, we don't know the precise reason

  210:03:14    why the U.S. Attorney did not proceed with this case, we know

  310:03:17    that Tom Girardi filed bankruptcy the prior -- in

  410:03:22    December 2020.      This case was dismissed in October 2021.              Who

  510:03:28    knows whether the U.S. Attorney was already investigating

  610:03:31    Mr. Girardi at that point at the time that our case was

  710:03:33    dismissed.

  810:03:34               But we do know at the get-go that this case started

  910:03:38    with Mr. Girardi and Erika Girardi and the personal

 1010:03:44    relationship with Mr. Savage.          And that is why this case was

 1110:03:47    brought.     That is why this case was investigated.

 1210:03:50               And I would just say, Your Honor, as far as

 1310:03:54    liability towards Henderson and Scarince, as opposed

 1410:03:58    Mr. Savage, there is allegations that we say are false in the

 1510:04:01    search warrant affidavit under Franks v. Delaware.                And

 1610:04:07    Mr. Henderson says that the charges were not authorized.                  We

 1710:04:11    know that the evidence shows that Ms. Girardi gave him the

 1810:04:15    credit card.      They had to have known that when they said that

 1910:04:18    the charges were authorized.

 2010:04:20               Secondly, they rely on the audio transcript.               Mr. --

 2110:04:25    as we allege, Mr. Psaila said at best there was some

 2210:04:29    accounting errors.       There may be a 100,000 mistake in

 2310:04:33    accounting, but they allege that the business was permeated

 2410:04:37    by fraud.

 2510:04:38               They also alleged there was also over an $800,000




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  110:04:42    loss.    Both of those statements were false.            They had no

  210:04:44    evidence in the search warrant affidavit to support that the

  310:04:48    business was permeated by fraud.           There was no admission by

  410:04:52    Mr. Psaila.     Ms. Girardi herself, if you read the anti-SLAPP

  510:04:57    declaration, she had no idea about the charges or how much he

  610:04:59    charged or whether she got -- there is no evidence supporting

  710:05:02    an $800,000 loss.       And they willy-nilly threw that in there,

  810:05:08    threw in the permeated by fraud.           That is with reckless

  910:05:13    disregard for the truth.         If we excise those statements,

 1010:05:16    there is no probable cause.

 1110:05:17               The same thing continued on when the case was

 1210:05:19    presented towards indictment.          Same thing.      They had all the

 1310:05:22    records.     They knew from Mr. Psaila that he provided -- what

 1410:05:27    criminal defendant charged with a crime would have this

 1510:05:29    ongoing e-mail correspondence with Mr. Henderson, Please give

 1610:05:33    me back my computer, so I can run my business.               And if you

 1710:05:36    look at the computer, all the evidence is there.                Did I

 1810:05:41    commit any fraud?

 1910:05:42               Your Honor, this is a case where there was -- if --

 2010:05:45    if -- that there was a reckless disregard by all three of

 2110:05:51    these agents to the truth, because Mr. Savage wanted to

 2210:05:53    satisfy Tom Girardi and Erika Girardi.

 2310:05:56               And I think that there was a fundamental miscarriage

 2410:05:59    of justice that this case is pending before Judge Olguin for

 2510:06:04    four or five years, and then just disappeared completely.




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  110:06:08    And I think we should be able to proceed with discovery, be

  210:06:10    able to prove our allegations.           And you know what?       They all

  310:06:14    complained that, oh, they are being sued.              You know, it's far

  410:06:18    different for Mr. Psaila, who is charged with a federal

  510:06:21    crime.

  610:06:22               THE COURT:     Thank you, Mr. McLane.

  710:06:24               MR. MCCLANE:      Big difference.

  810:06:25               THE COURT:     Mr. McLane, the matter is taken under

  910:06:27    submission.     Thank you, counsel.

 1010:06:28               MR. MCCLANE:      Thank you, Your Honor.

 1110:06:31               MS. RIVARD:      Thank you, Your Honor.

 12                                   *****        *****        *****

 13

 14            I certify that the foregoing is a correct transcript from the

 15            record of proceedings in the above-titled matter.

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 21            Amy C. Diaz, RPR, CRR                       April 8, 2024

 22            S/   Amy Diaz

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        1                      UNITED STATES DISTRICT COURT
        2                    NORTHERN DISTRICT OF CALIFORNIA
        3 Before The Honorable Haywood S. Gilliam, Jr., District Judge

        4

        5 VALENCIA, et al.,             )
                                        )
        6           Plaintiffs,         )
                                        )
        7 vs.                           )          No. C 15-00887-HSG
                                        )
        8 VOLKSWAGEN GROUP OF AMERICA, )
          INC., et al.,                 )
        9                               )
                    Defendants.         )
       10 ______________________________)

       11
                                               Oakland, California
       12                                      Tuesday, December 13, 2016
       13
             TRANSCRIPT OF PROCEEDINGS OF THE OFFICIAL ELECTRONIC SOUND
       14                RECORDING 2:29 - 2:48 = 19 MINUTES
       15 APPEARANCES:

       16 For Plaintiffs:
                                               Pomerantz, LLP
       17                                      1100 Glendon Avenue
                                               15th Floor
       18                                      Los Angeles, California 90024
                                         BY:   JORDAN L. LURIE, ESQ.
       19
                                               Capstone Lawyers, APC
       20                                      1875 Century Park East
                                               Suite 1000
       21                                      Los Angeles, California 90067
                                         BY:   TAREK H. ZOHDY, ESQ.
       22                                      RAUL PEREZ, ESQ.
       23

       24                 (APPEARANCES CONTINUED ON NEXT PAGE)
       25




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                                                                                        2
        1 APPEARANCES:      (Cont'd.)
        2 For Lorenzo and Michelle
            Savage:                            Girardi & Keese
        3                                      1126 Wilshire Boulevard
                                               Los Angeles, California 90017
        4                                BY:   THOMAS GIRARDI, ESQ.
        5 For Defendants:
                                               Kerr, Russell & Weber, PLC
        6                                      500 Woodward Avenue
                                               Suite 2500
        7                                      Detroit, Michigan 48226
                                         BY:   FRED K. HERMANN, ESQ.
        8

        9 Transcribed by:                      Echo Reporting, Inc.
                                               Contracted Court Reporter/
       10                                      Transcriber
                                               echoreporting@yahoo.com
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        1 Tuesday, December 13, 2016                                      2:29 p.m.
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        3                                  --oOo--
        4              THE CLERK:     Calling C 15-887, Valencia, et al.
        5 versus Volkswagen Group of America, Inc., et al.

        6         Please step forward and state your appearances for the
        7 record, please.

        8              MR. LURIE (telephonic):        Good afternoon, your
        9 Honor.     Jordan Lurie and Tarek Zohdy, Capstone Law, for
       10 Plaintiffs.

       11              THE COURT:     All right.     Good afternoon, Mr. Lurie.
       12              MR. HERMANN (telephonic):        Good afternoon, your
       13 Honor.     This is Fred Hermann, telephonically, for Volkswagen
       14 Group of America, Inc.

       15              THE COURT:     All right.     Good afternoon, Mr.
       16 Hermann.

       17         All right.    Is Mr. Girardi here?
       18         (No response.)
       19              THE CLERK:     And is Mr. Perez not on the phone
       20 line?

       21              MR. PEREZ (telephonic):        Yes, your Honor, Mr.
       22 Perez is on the phone line.

       23              THE COURT:     All right.     Mr. Girardi, would you
       24 state your appearance?

       25              MR. GIRARDI (telephonic):        Tom Girardi, yes.




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        1              THE COURT:    All right.
        2              MR. GIRARDI:     And Mr. and Ms. Savage.
        3              THE COURT:     All right.    All right.     So, I put this
        4 on for further case management conference because this case

        5 appears to be careening off the rails, and I want to get it

        6 under control.

        7        And, really, my first question is for Mr. Girardi.              You
        8 appeared at the telephonic conference that we had a few

        9 weeks ago, and I ordered the parties to have a discussion

       10 with the mediator, and at least Mr. Lurie is representing

       11 that that didn't happen.        And I need to understand whether
       12 it happened and, if it didn't happen, why didn't it happen.

       13              MR. GIRARDI:     Your Honor, I don't know.        I don't
       14 -- I -- I didn't understand that we were supposed to meet

       15 with a mediator.       We had some discussions with them that
       16 were just, you know, no way anything was going to go forward

       17 in any way, shape, or form.         So, I apologize if I was
       18 supposed to talk to the mediator.

       19              THE COURT:     I was completely clear about that.
       20              MR. GIRARDI:     Oh, okay.    I did the wrong thing.
       21 It wasn't a matter I was trying to -- I only got into this

       22 as some way to solve a problem.          I wasn't looking for a
       23 client.     I wasn't trying to do that.        I was trying to solve
       24 a -- a problem due to misrepresentations that took place.

       25 That's all I was trying to do.




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        1              THE COURT:     I'm concerned that my order was not
        2 followed.

        3              MR. GIRARDI:     Your Honor, I truly didn't
        4 understand it to be followed.         I truly did not understand
        5 that was an order.       I talked to the other side on several
        6 occasions about the situation.          They said, Well, there's
        7 nowhere we can go with this, et cetera.           And I said, Okay,
        8 fine.    Whatever.     I wasn't being bad, Judge.        I -- I follow
        9 judges' orders.

       10              THE COURT:     I'm going to go back and look at the
       11 minute order.      I think it was clear, and I think our
       12 discussion was clear, and --

       13              MR. GIRARDI:     Your Honor --
       14              THE COURT:     -- whether -- whether or not you
       15 thought it would be productive is of zero concern to me.

       16 What is of concern to me is my orders being followed.               I
       17 directed you to have that discussion with the mediator.                 You
       18 didn't do it.

       19              MR. GIRARDI:     Your Honor, I -- did we get a copy
       20 of the order?      I'm -- if we did, I -- I didn't see it.            I
       21 didn't -- your Honor, I get -- I follow orders for 49 years

       22 and 6 months of courts.        I think that's pretty clear in my
       23 record and so forth.       And if there was a mistake being made,
       24 it wasn't being antagonistic to you or being a jerk or being

       25 an obnoxious lawyer.       Something fell in the cracks if that




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        1 was the order.      I thought that my discussions with the other
        2 side were such that there was no need to go forward, and I

        3 apologize.

        4         Matter of fact, our client asked the other side to see
        5 the mediator on numerous occasions before all this came

        6 about.

        7              THE COURT:     All right.    There may be an OSC
        8 coming, just so you know, on this question.            I'll look at
        9 the order, but my recollection of the conversation is -- is

       10 crystal clear.

       11         The second issue is I -- on the telephonic conference,
       12 I ordered the individual Plaintiffs to be present.              All of
       13 them were except for the Savages.          Why was that?     Because
       14 now I get a filing, and there's a complaint that "I wanted

       15 to talk to the Judge and didn't get the chance."             Well, you
       16 had a chance.      I set a hearing.      I had a proceeding at which
       17 I wanted to hear from the individual Plaintiffs.             The rest
       18 of them showed up, even though they don't really have a

       19 problem right now, and the Savages didn't.            So, it -- it's
       20 odd to me to then read a complaint that they didn't have the

       21 chance to be heard when I set up a proceeding exactly for

       22 that purpose.

       23              MR. GIRARDI:     Well, I don't know anything about
       24 that.    I wasn't around.
       25              THE COURT:     Yes, you were.     You were on the call.




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        1 We discussed it, and I think you -- you apologized for why

        2 they weren't on the call.         I don't even remember what
        3 exactly your explanation was, but what do you -- what do you

        4 mean you weren't around?

        5              MR. GIRARDI:     Your Honor, these -- the request for
        6 a judge took place months ago when this whole thing

        7 blossomed forth --

        8              THE COURT:     But --
        9              MR. GIRARDI:     -- the fete to talk to the judge.
       10 They're here.      You --
       11              THE COURT:     Why --
       12              MR. GIRARDI:     -- can ask --
       13              THE COURT:     Why didn't they appear as I ordered on
       14 the case management call that I had a couple of weeks ago?

       15 You don't -- you have no idea?

       16              MR. GIRARDI:     No.
       17              THE COURT:     Did you tell them about the call?
       18              MR. GIRARDI:     I don't know.
       19              THE COURT:     You don't know whether you told them
       20 about the call?

       21              MR. GIRARDI:     I can't -- I can't say under penalty
       22 of perjury that I did tell them about the call.             It would
       23 certainly be my habit and practice to absolutely tell

       24 somebody they have to be on a call if the Court orders it.

       25              THE COURT:     But you -- you saw the order, right?




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        1         (No response.)
        2              THE COURT:     Right?
        3              MR. GIRARDI:     I can't say that.
        4              THE COURT:     How did you join the call if you
        5 didn't see the order?

        6              MR. GIRARDI:     I joined the call because there was
        7 a -- a printout came to me that said here's the call-in

        8 number for the call.

        9              THE COURT:     How did you get that printout?
       10              MR. GIRARDI:     Undoubtedly from my office.
       11              THE COURT:     You never saw the order?
       12              MR. GIRARDI:     Your Honor, I don't want to say I
       13 didn't because -- but I'm not sure that I did.             Obviously,
       14 if I saw an order that said these two people should be on

       15 the call, then I would have had them on the call.              It -- it
       16 escapes me.

       17              THE COURT:     Mr. Girardi, you've been around a long
       18 time.    You know that courts rely on lawyers reading their
       19 orders, right?      That I -- the idea that you might not have
       20 seen it or you might not have understood or you found some

       21 other way to call in, you can gather I -- and this is -- I'm

       22 not prejudging the substance of any of this, but this whole

       23 sequence of events is extremely problematic and just a

       24 direction that is exceedingly troubling to me, and I won't

       25 stand for it.      I just won't.     If you're -- you're




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        1 substituted into the case now.        You've done that.       We
        2 discussed that on the call too.         You said that a notice of
        3 appearance had been sent, never arrived.          It wasn't until I
        4 ordered you to do a substitution of counsel that it -- that

        5 it happened.

        6         And, so, I -- I just don't want there to be any
        7 waffling on -- on any of this.        And -- and I want you to be
        8 very -- and you are.       You're being careful about what you
        9 say, but I take that idea of my orders being followed

       10 extremely seriously, and I'm having strong concern here that

       11 that hasn't happened, at least as far as your involvement in

       12 the case so far.

       13              MR. GIRARDI:    Your Honor, do you think for a
       14 minute that I would violate an order --

       15              THE COURT:    I --
       16              MR. GIRARDI:    -- intentionally?
       17              THE COURT:    I don't know.
       18              MR. GIRARDI:    No, seriously.
       19              THE COURT:    I don't know.
       20              MR. GIRARDI:    Oh, I think I'll violate an order,
       21 don't put the clients on the phone, do you think I would do

       22 that?

       23              THE COURT:    I -- all I know is it's hard for me to
       24 understand how you got on the call, and I think you had -- I

       25 really thought -- I'll have to see if there is a recording




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        1 of the call.     I thought that you even said something to the
        2 effect that you didn't realize that they needed to be on and

        3 it was your -- you know, you -- you understood.            I don't
        4 remember, but it was -- the whole thing is bizarre to me at

        5 this point.

        6         So, I'll -- I'll follow up as appropriate, but I have a
        7 really uneasy feeling about the way that this has gone down

        8 in terms of respecting and following my orders, and I can't

        9 tolerate that.

       10             MR. GIRARDI:     Okay, your Honor.     I'll do this.
       11 I'll withdraw our objection.         I will pay these people what
       12 they have coming to them, and we'll withdraw the objection.

       13 That's because if the Court thinks I intentionally did

       14 something wrong or tried to do anything inappropriate, that

       15 doesn't work with me.       So, I personally will pay them
       16 $100,000, which is what they are entitled to in this.              We'll
       17 withdraw our objection.

       18             THE COURT:     Okay.   Do you want to put that in
       19 writing?

       20             MR. GIRARDI:     Well, I hope somebody's writing it
       21 down.

       22             THE COURT:     No, no.    Do you have -- why don't you
       23 do a stipulation with the Defendant and parties and finalize

       24 it and submit it, and we'll go from there?           I don't --
       25             MR. GIRARDI:     Like we'll withdraw our complaint.




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        1 We'll withdraw the fact that we got defrauded.           We'll
        2 withdraw all that.      The case is over with as far as we're
        3 concerned, and I personally, in light of the fact the Court

        4 thought that I intentionally disobeyed an order, which isn't

        5 true, and in light of that fact, this is worth it to me, and

        6 I will them pay them the $100,000 they would be entitled to

        7 had they been properly represented.         We have similar
        8 complaints that Judge Kozinski had with the same law firm.

        9        (Pause.)
       10             THE COURT:     Mr. Lurie or Mr. Hermann, response?
       11             MR. LURIE:     I'm not -- we will accept the offer if
       12 they are willing to settle separately and Mr. Girardi is

       13 going to pay these Plaintiffs.        If that's the solution, I
       14 think that's fine.      I would just state for the record that
       15 the -- to reenforce a number of things the Court did say.

       16 We made Mr. Girardi aware twice of the -- the fact that he

       17 had to meet with the mediator after your phone call.              It's
       18 all laid out in our joint statement, one that Mr. Girardi,

       19 unfortunately, did not participate in.

       20        Just for the record, his client never sought to mediate
       21 this case at any time after we had any disagreement, and

       22 part of the problem here, frankly, is we've never been able

       23 to talk to anybody to try to resolve this issue, not with

       24 Mr. Girardi, not with the Savages.

       25        Our clients did participate in the conference call at




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        1 an expense to us and at some expense to them.           But if the --
        2 and, just for the record, the Judge Kozinski issue, which is

        3 not even close to relevant to this, but Judge Kozinski was

        4 involved in one of our cases.        He ultimately went along with
        5 a settlement that we reached in the Nissan case, and he's

        6 the happiest camper you can be.         You can ask him, and he was
        7 quite fine with the settlement after filing an objection.

        8 It has absolutely nothing to do with this or our conduct,

        9 and I think he would swear that we did an excellent job of

       10 resolving the case.      It's all completely by the by.
       11        But for purposes of this, I want to be sure.           We're
       12 going to enter into a -- we're going to go forward with the

       13 settlement agreements with our Plaintiffs.           And with respect
       14 to the Savages, they no longer have a case -- they're going

       15 to no longer have a case against Volkswagen.           Mr. Girardi is
       16 going to resolve that separately with them.

       17        Is that your understanding?
       18             THE COURT:     Such as it is.     It all -- it's coming
       19 off the top.     I think you need to figure out a way to
       20 document whatever it is.

       21             MR. LURIE:     He'll document -- I think the way to
       22 document is that they will file a -- a notice of dismissal,

       23 and Mr. Girardi will just pay them what he claimed he wanted

       24 to pay them, if that's the appropriate way to do it.              I
       25 guess the Defendant -- counsel for Defendant is on the




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        1 phone.    He can probably weigh in about the best mechanics
        2 from his clients' point of view.

        3              MR. HERMANN:    Yes --
        4              THE COURT:    Mr. --
        5              MR. HERMANN:    -- your Honor, Fred Hermann on
        6 behalf of Volkswagen Group of America, Inc.           Obviously, our
        7 interest is to finalize the agreement we've reached.              And,
        8 for the Court's information, part of that settlement

        9 agreement includes an agreed amendment of pleadings to

       10 ensure full releases and so forth.         So, there are a few
       11 moving parts going forward that may require some court

       12 supervision that -- to finalize this.          But I am confident we
       13 can work that out with the Capstone Firm very -- very

       14 easily.

       15        I share Mr. Lurie's concern, though, about what was
       16 represented and said today.         As I understand it, the Savages
       17 will be withdrawing completely from the case and that the

       18 settlement as finalized will not include the Savages but

       19 only the remaining Plaintiffs.        If we could get clarity on
       20 that, it would (telephonic glitch) toward making this

       21 process more streamline for getting the final papers into

       22 the Court.

       23              THE COURT:    What's your take?
       24              MR. GIRARDI:    Yes, your Honor.     I -- I'm doing
       25 this because the Court has indicated that I have done




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        1 something inappropriate, and I really didn't.           Something
        2 fell in the cracks.      It was negligent.      It wasn't
        3 intentional.     But I don't want to be in a situation that the
        4 Court is thinking that.       So, therefore, the Savages are out
        5 of the case.     We'll give a dismissal -- prepare a dismissal.
        6 We'll sign it in a heartbeat, and then I personally will pay

        7 the Savages a fair settlement in the case, what it should

        8 have been, because if I made a mistake in not going back to

        9 the mediator after I had a bunch of obnoxious calls with

       10 these people, that was my mistake.         Shouldn't have done it,
       11 and I apologize to you, and I think I'll get out of it this

       12 way.

       13             THE COURT:     Here's what you need to do.        As much
       14 problem as this seems to have been so far, you all need to

       15 get together, meet and confer, and figure out how this will

       16 be structured.     I honestly don't care other than that I want
       17 the case either to resolve or to start moving forward to a

       18 resolution.     That's all.    That's my only concern.
       19        So, you all need to this week -- can I order that?
       20 We're all -- you're all here right now.          Mr. Herman, you can
       21 be available by phone.       By the end of this week, finalize
       22 this proposal and present it.        You don't actually need a
       23 court approval because it's not a class settlement, but by

       24 the end of this week, I want to know that this is wrapped

       25 up.    If you can't do it by the end of the week, I know, Mr.




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        1 Hermann, you were talking about filing a motion to enforce,

        2 and I should just set a deadline right now for that

        3 happening if things aren't wrapped up by Friday.

        4        How long would you need to prepare that motion?
        5             MR. HERMANN:     Your Honor, that motion -- in
        6 deference to my client, which the automotive industry takes

        7 quite a hiatus over the holidays -- I would want to be able

        8 to have early -- early January, first week of January, to be

        9 able to put that in, if that's all right for the Court.               I
       10 could certainly do it faster, but I'd want to allow some

       11 time for my client to be able to participate in that.

       12             THE COURT:     That's fine with me.      Given the track
       13 record here, sooner is obviously better.          But I will defer
       14 to you.    No one has more interest in getting it teed up
       15 quickly than you do.       So --
       16             MR. HERMANN:     Right.   And, if I may, your Honor,
       17 the -- the earlier solution of finalizing the paper, the --

       18 the issue of the Savages and their just (telephonic glitch)

       19 from the case, that seems cut and dry and can easily be done

       20 by the end of this week.

       21        The other issue lies in the papers, which includes a
       22 notice to some of our customers.         That process, in all
       23 candor to the Court, will take longer than this week.

       24             THE COURT:     Well, understood.     But, you -- again,
       25 I'm not really concerned about the mechanics.           I'm just -- I




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        1 want to know if you are resolving the case, and then if it's

        2 something that takes longer to execute, that's fine.              But
        3 we're just past time to know -- we've got to make a decision

        4 here as to where this thing is headed.          It sounds like it
        5 ought to be wrapped up by, based on the representations that

        6 have been made today --

        7              MR. HERMANN:    I agree, your Honor.      And on behalf
        8 of -- of VW, I would state again that we -- we have long ago

        9 and already reached a settlement in the matter.            So, with
       10 today's representations from Mr. Girardi, we are back on

       11 track, but the dismissal of the two Savages, that takes care

       12 of -- of the recent issues, and we can move forward with the

       13 remaining Plaintiffs, as we've already agreed, to finalize

       14 the paper.

       15        So, I -- I agree completely we are resolved based on
       16 the representations made today.

       17              THE COURT:    All right.
       18              MR. GIRARDI:    I will file a dismissal tomorrow
       19 with the Savages.

       20              THE COURT:    All right.
       21              MR. LURIE:    Just to clarify, that's a dismissal
       22 with prejudice, correct?

       23              MR. GIRARDI:    Yeah, fine.
       24              THE COURT:    All right.
       25              MR. HERMANN:    And the only question -- your Honor,




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        1 if I may, on behalf of VW, the only question I would make

        2 over filing a dismissal, the dismissal should be with

        3 prejudice --

        4             THE COURT:     That was just --
        5             MR. HERMANN:     -- because, again, we --
        6             THE COURT:     That -- that was just acknowledged.
        7 You didn't hear it.      Mr. Girardi said it will be a dismissal
        8 with prejudice.

        9             MR. HERMANN:     That's -- that's fine.       Thank you,
       10 your Honor.

       11             THE COURT:     Anything further?
       12             MR. GIRARDI:     Nothing further.
       13             THE COURT:     All right.
       14        (Proceedings adjourned at 2:48 p.m.)
       15

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        1                      CERTIFICATE OF TRANSCRIBER
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        3        I certify that the foregoing is a true and correct
        4 transcript, to the best of my ability, of the above pages of

        5 the official electronic sound recording provided to me by

        6 the U.S. District Court, Northern District of California, of

        7 the proceedings taken on the date and time previously stated

        8 in the above matter.

        9        I further certify that I am neither counsel for,
       10 related to, nor employed by any of the parties to the action

       11 in which this hearing was taken; and, further, that I am not

       12 financially nor otherwise interested in the outcome of the

       13 action.

       14

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       17                  Echo Reporting, Inc., Transcriber
       18                       Tuesday, January 30, 2024
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